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                             EXHIBIT A
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                                                                                              Superior Court of California
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                                2   Edward Susolik (Bar No. 151081)                                   MAY 04M
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                                                                                                     RitaNazaryan
                                4   Santa Ana, California 92707
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                                6Attorneys for Plaintiffs KATHLEEN STEINLEY, MARTIN
                                 HAROLD STEINLEY, and MARTIN ALEXANDER STEINLEY,
                               7 individually and on behalf of others similarly situated

                               8                                  SUPERIOR COURT OF CALIFORNIA

                                9                                        COUNTY OF LOS ANGELES
                               10

                               11   ICATHLEEN STEINLEY,                              CASE NO.
                                    MARTIN HAROLD STEINLEY, and                                      BC7 0 2 2 9 7
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                 z             12   MARTIN ALEXANDER STEINLEY,
           S5                       individually and on behalf of others similarly
                53™|l          13   situated, ,                                      COMPLAINT
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                Q.
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                !|S; =         14                          Plaintiffs,
           %c Sg^tS
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             U- Z h 10•J >
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             or £ < f— > 16   HEALTH NET, INC., a Delaware
           u <3               corporation,
             Q- i— to

                           17 HEALTH NET LIFE INSURANCE                              Complaint Filed:
                              COMPANY, a California corporation,                     Trial Date:
                           18 HEALTH NET OF CALIFORNIA, INC., a
                              California corporation,
                           19 MANAGED HEALTH NETWORK, INC., a
                              Delaware corporation,
                           20 CENTENE CORPORATION, a Delaware
                              corporation, and
                           21 DOES 1 through 100, inclusive,

                               22                          Defendants.

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                                                                              COMPLAINT


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                              1          Plaintiffs KATHLEEN STEINLEY, MARTIN HAROLD STEINLEY, and MARTIN

                             2    ALEXANDER STEINLEY bring this action on behalf of themselves individually, and on behalf

                             3    of all others similarly situated ("Plaintiffs") against Defendants HEALTH NET, ENG., a Delaware

                             4    corporation, HEALTH NET LIFE INSURANCE COMPANY, a California corporation, HEALTH

                             5    NET OF CALIFORNIA, INC., a California corporation, MANAGED HEALTH NETWORK,

                             6    INC., a Delaware corporation, CENTENE CORPORATION, a Delaware corporation (collectively

                             7 "Health Net"), and DOES 1 through 100, inclusive, and hereby allege the following on

                             8    information and belief, except as to those allegations that pertain to the named Plaintiffs, which
                                                                            '              «

                             9    are alleged on personal knowledge:

                             10                                                 THE PARTIES

                             11           1.     Plaintiffs KATHLEEN STEINLEY ("Kathleen"), MARTIN HAROLD STEINLEY
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                 -» s        12   ("Martin"), and MARTIN ALEXANDER STEINLEY ("Alex") each are citizens of the State of
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               a 5< J"       13   California and reside in San Diego County,
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                             14           2.     Defendant Health Net, Inc. ("HNI") is, and was at all times relevant to this action, a
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           M I ^ < O <0      15   corporation duly organized and existing under the laws of the State of Delaware, with its principal
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                             16   place of business located in Woodland Hills, California. HNI is authorized to conduct business as
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                             17   a health care service plan and health care insurer, and transacts, and is transacting, the business of

                             18   providing health plans to consumers throughout California.

                             19           3.     Defendant Health Net Life Insurance Company ("HNLIC") is, and was at all times

                             20   relevant to this action, a corporation duly organized and existing under the laws of the State of

                             21   California, with its principal place of business located in Woodland Hills, California. HNLIC is

                             22   authorized to conduct business as a health care service plan and health care insurer, and transacts,

                             23   and is transacting, the business of providing health plans to consumers throughout California.

                             24           4.     Defendant Health Net of California, Inc. ("HNCI") is, and was at all times relevant

                             25   to this action, a corporation duly organized and existing under the laws of the State of California,

                             26   with its principal place of business located in Woodland Hills, California. HNCI is authorized to

                             27   conduct business as a health care service plan and health care insurer, and transacts, and is

                             28   transacting, the business of providing health plans to consumers throughout California.

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                                   1          5.      Defendant Managed Health Network, Inc. ("MHNI") is, and was at all times

                                  2    relevant to this action, a corporation duly organized and existing under the laws of the State of

                                  3 Delaware, with its principal place of business located in Woodland Hills, California. MHNI is

                                  4    authorized to conduct business as a health care service plan and health care insurer, and transacts,

                                  5    and is transacting, the business of providing health plans to consumers 'throughout California.

                                  6           6.      Defendant Centene Corporation ("Centene") is, and was at all times relevant to this

                                  7 action, a corporation duly organized and existing under the laws of the State of Delaware, with its,

                                  8 principal place of business located in St. Louis, Missouri. Centene is authorized to conduct
                                   9   business as a health care service plan and health care insurer, and transacts, and is transacting, the

                                  10   business of providing health plans to consumers throughout California.

                                  11          7.      Centene acquired HNI, HNCI, HNLIC, and MHNI through merger in 2015, which
               ro z
               •A °               12   was approved by the California Department of Managed Health Care ("DMHC") and the
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                   z f o          13   California Department of Insurance ("CDI") in 2016, and is now the parent company or successor
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                 § > P "» 4       14   in interest of, and thereby liable for the acts and omissions of HNI, HNCI, HNLIC, and MHNI.
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               5"
               w^ Iw              15           8.     Plaintiffs do not know the true names and capacities of defendants sued as DOES 1
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                       2i ' >
                                  16 through 100, inclusive, and therefore sue such defendants with such fictitious names. Plaintiffs
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                                  17   will amend this complaint, if necessary, to allege their true names and capacities when they have

                                  18   been ascertained. Plaintiffs are informed and believe that each of the named and fictitiously

                                  19   named defendants are in some way involved in and responsible for the events, transactions, or

                                  20   occurrences alleged in the complaint, as well as the damages caused to Plaintiffs. DOES 1

                                  21   through 100 are included in the references throughout this complaint to HNI, HNCI, HNLIC,

                                  22   MHNI, and Centene, as appropriate.

                                  23           9.      Each of the defendants is, and was at all times relevant to this action, the agent,

                                  24   servant, representative, or alter ego of each of the other defendants, and in doing the things

                                  25   hereinafter alleged, each of the defendants was acting in the scope of its authority as such agent,

                                  26 servant, representative, or alter ego, and with the permission and consent of each of the other

                                  27   defendants.                    '

                                  28           10.     Each of the defendants formed and operated a conspiracy with each of the other

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                         1   defendants to perform the acts alleged herein, in furtherance of a common design and with

                        2    knowledge that the conduct alleged herein of each of the defendants constituted breaches of duty

                        3    and provided substantial assistance or encouragement to each other to so act.

                        4            11.     Defendants HNI, HNCI, HNLIC, MHNI, Centene and DOES 1 through 100,

                        5    inclusive, and each of them, are collectively referred to herein as "Health Net," unless referred to

                        6    in their individual capacities.

                         7                                         JURISDICTION AND VENUE

                         8           12.     This Court has jurisdiction over this action under Article VI, section 10 of the

                         9   California Constitution and section 410.10 of the Code of Civil Procedure. Jurisdiction is also

                       10    proper under California Business and Professions Code section 17200, et seq. and California Civil

                       11    Code section 1750, et seq.
                   o
            W 2O             12         13.     This Court has jurisdiction over Health Net, as a resident of the State of California,
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              OI             13 and because Health Net has purposely availed itself of the privilege of conducting business
           5 8IK m^ ^S " 55'
           •a 3 g b 14 activities in California and currently maintains systematic and continuous business contacts with
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              ot J o <          this State, with thousands of enrollees who are residents of this State and who do business with
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            < gP5t!s 16 Health Net.
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                             17         14.     Venue is proper in this Court because, inter alia, Health Net's principle place of

                       18    business is in the County of Los Angeles, and because Health Net engages and performs business

                       19    activities in the County of Los Angeles, and has received substantial profits from consumers who

                       20    reside in the County of Los Angeles.

                       21                                           STATUTORY MANDATES

                       22            15.     Enacted in March 2010, the Patient Protection and Affordable Care Act ("ACA")

                       23    created new rules applicable to health plans in the United States (PL 111-148, March 23, 2010,

                       24    124 Stat 119), Under the ACA, states may operate a marketplace, known as an exchange, through

                       25    which private health plans are sold to consumers (42 U.S.C. § 18031(b)).

                       26            16.     Individuals could purchase health plans through their state's exchange during the

                       27    initial six-month 2014 Open Enrollment Period, between October 1,2013 and March 31,2014 (45

                        28   C.F.R. § 155.410). Individuals could also purchase health plans directly from health plans during
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                                    1   the 2014 Open Enrollment Period, After the 2014 Open Enrollment Period, individuals could not

                                   2    purchase health plans until the next enrollment period, beginning November 15, 2014 (45 C.F.R §

                                   3    155.410(e)).

                                   4           17.     The ACA expressly preserves state laws that offer additional consumer protections

                                   5    that do not "prevent the application" of any ACA requirement (42 U.S.C. § 18041(d)). State laws

                                   6    that impose stricter requirements on health plan issuers than those imposed by the ACA are also

                                    7   not superseded by the ACA,
                                                                                                  *
                                    8          18.     To further the goals of ensuring that consumers are educated and informed about

                                    9   the coverage and benefits and enabling consumer choice in the market place, regulations

                                   10   promulgated pursuant to the Insurance Code require that advertisements for health plans "shall be

                                   11   truthful and not misleading in fact or in implication." Cal. Code Regs. Title 10 ["10 CCR"] §

           «                       12   2536.1(b).
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                    < X ^ 13 s
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                    Q. — < ^ -j    13          19.     Insurance Code sections 10603 and 10604 require health plans to "provide, in
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                            K. <   14   easily understood language and in a uniform, clearly organized manner" information including the
               z    -1 o < -x
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               X                   15 "principal benefits and coverage of the disability insurance policy" and the "exceptions,
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                                   16   reductions, and limitations that apply to such policy."
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               I—I O o 2 ^ §
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                                   17          20. •   Insurance Code section 10133.5 requires "that insureds have opportunity to access

                                   18   needed health care services in a timely manner" ... "to assure accessibility of provider services in

                                   19   a timely manner to individuals ... pursuant to benefits covered under the policy or contract." Id. at

                                   20   subds. (a) and (b). The purpose of the statute is to ensure, among other tilings, that:

                                   21                  a.      "The policy or contract is not inconsistent with standards of good health

                                   22   care and clinically appropriate care." Ins. Code § 10133.5(b)(3).

                                   23                   b.     "All contracts including contracts with providers, and other persons

                                   24 furnishing services, or facilities shall be fair and reasonable." Ins. Code § 10133.5(b)(4).

                                   25           21.     Regulations promulgated pursuant to Insurance Code section 10133.5 require that

                                   26 "insurers shall ensure that... [njetwork providers are duly licensed or accredited and that they are

                                   27   sufficient, in number or size, to be capable of furnishing the health care services covered by the

                                   28   insurance contract, taking into account the number of covered persons, their characteristics and

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                                 1 medical needs including the frequency of accessing needed medical care within the prescribed

                                 2     geographic distances outlined herein and the projected demand for services by type of services."

                                 3     10 OCR § 2240.1(b)(1).

                                 4            22.     Insurance Code section 10133.56 similarly allows consumers who are in the course

                                 5     of treatment to continue to receive treatment from their provider of choice, even after the health

                                 6     insurer terminates its contract with the provider.           ^

                                 7                                        NATURE OF THE ACTION

                                 8            23.     Plaintiffs bring this action to challenge Health Net's deceptive and fraudulent

                                 9     misrepresentations, its inadequate network of contracted providers of behavioral health and

                               10      substance use disorder services ("BH/SUD"), its grossly mishandled administration of PPO

                               11      Policies, its groundless investigation of BH/SUD claims and consequent elimination of out-of-

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                               12      network choices, and its inequitable payment of benefits for BH/SUD services as compared to
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               J 21             13     medical and surgical services.
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                   5> K -;2£; •<i 14           24.    In violation of California law, Health Net:
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                            Z -J 15                    a.     Has misrepresented and continues to misrepresent to consumers that certain
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               U o OZ }"$       16     BH/SUD providers are participating in Health Net's network of contracted providers, or in-
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                                17     network providers, when in fact they are not;

                                18                     b.     Has made and continues to make false and misleading representations and

                                19     omissions in advertising, marketing, and communications regarding BH/SUD provider networks

                                20     and as to other matters as more fully described herein;

                                21                     c.      Has subjected and continues to subject Plaintiffs and others similarly

                                22     situated to inadequate networks of BH/SUD providers, causing delays and interruptions in

                                23     accessing needed health care;                 '
                                                                                    •7

                                24                     d.      Has subjected and continues to subject Plaintiffs and others similarly

    Ul                          25     situated to exceedingly long wait times, regularly lasting several hours and in some cases, like

                                26     Plaintiffs', days and weeks on customer service telephone lines when calling to address these

                                27     problems and misrepresentations;

                                28                     e.      Has and subjected continues to subject Plaintiffs and others similarly

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                                1    situated to unreasonably limited, almost non-existent, choices of out-of-network BH/SUD

                                2    providers as a direct result of Health Net's groundless, industry-wide dragnet SIU investigation of

                                3    out-of-network BH/SUD providers; and

                                4                   f.       Has subjected and continues to subject Plaintiffs and others similarly

                                5    situated to exorbitant increased costs of health care as a direct result of Health Net's practice of

                                6 reimbursing BH/SUD services at Medicare allowable rates that do not apply to the BH/SUD
                                7    services provided, resulting in an underpayment on average of approximately 70-80% of the

                                8    providers' billed charges and a resulting increase in Plaintiffs' out of pocket expenses for covered

                                 9   health care services.

                                10           25.    In late 2013, to coincide with the commencement of the ACA, Health Net canceled

                                11   its existing non-ACA-compliant PPO Policies and made available to California consumers new

                                12   PPO Policies, effective January 1,2014.
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          •J                    13           26.     The new ACA-compliant PPO Policies were first made available to consumers
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                      "»r- < 14 during a designated enrollment period between October 1,2013 and March 31,2014 (the "2014
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           w 5 £ l ° g 15 Open Enrollment Period"). Except for a few narrow exceptions, consumers may only enroll in
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           i    K O z w 5 16 new coverage or switch coverage during designated open enrollment periods.
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                              17       27.     Health Net represented and marketed to consumers that its health plans have

                                18   specific BH/SUD providers under contract and within its network of providers available to those

                                19   consumers enrolled in the Health Net PPO Policies.

                                20           28.     After Plaintiffs and those similarly situated enrolled in the new Health Net PPO

                                21   Policies, they discovered that their provider networks did not include the BH/SUD providers

                                22   Health Net had represented to be in-network providers, and that those provider networks were

                                23   much more limited than previously represented by Health Net. Due to Health Net's deceptive and

                                24   fraudulent actions and misrepresentations. Plaintiffs and those similarly situated are not able to

                                25   fully access the benefits of the plans they purchased.

                                26           29.     Plaintiffs and those similarly situated did not become fully aware of the reduced

                                27   provider networks until after the close of their respective open enrollment periods, thereby locking

                                28   them in those plans until the next open enrollment period. Some consumers have not yet become

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                                1    aware of the reduced provider networks.

                                2           30.        Health Net had a clear incentive to conceal its networks: As a result of these

                                3    practices, Health Net significantly increased its share of the California health plan market, while

                                4    offering inferior products and not paying the contractually and statutorily mandated benefits.

                                5           31.    • Health Net's practices improperly shift the increased cost of health care onto

                                6    Plaintiffs and those similarly situated in the form of exorbitant unpaid bills and the transformation

                                7    of fixed co-payments into percentage-based co-insurance obligations if they cannot access in-

                                8    network providers in a timely manner from the limited number of in-network providers in Health

                                9    Net's provider network.

                                10          32.    :   By selling health plans that do not provide benefits or access to BH/SUD in-

                                11   network providers as advertised, Health Net's deceptive business practices resulted in mass

            w                   12   confusion, with Plaintiffs and others similarly situated trapped in a labyrinth of automated phone
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                95 ^   «.   o   13   trees, multiple transfers, oppressive hold times, disconnections, and restarting the entire process.
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                                14           33.       Health Net's deceptive and fraudulent practices went beyond providing an
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            K O h: < o 0<       15   inadequate network of BH/SUD providers. In January 2016, Health Net instituted an industry­
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                                16   wide dragnet SIU investigation of out-of-network providers of BH/SUD services. The SIU
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                                17   investigation was intended to avoid the payment of out-of-network provider BH/SUD services,

                                18   and Health Net has in large part avoided such contractually and statutorily mandated payments.

                                19   As a direct consequence, Plaintiffs and others similarly situated found themselves unable to find

                                20   BH/SUD out-of-network providers willing to treat Health Net insureds.

                                21           34.       For those of Health Net's insureds, such as Plaintiffs and others similarly situated,

                                22   who were able to find out-of-network BH/SUD providers willing to provide treatment, Health Net

                                23   further compounded the injury and damages by employing a deceptive and fraudulent practice of

                                24   reimbursing out-of-network BH/SUD services at Medicare reimbursement rates that do not apply

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                                25   to the BH/SUD services provided, resulting in average underpayments of approximately 70-80%

                                26   of the out-of-network providers' billed charges, and a resulting increase in Plaintiffs' out of pocket
i   Q''
                                27   expenses for covered health care services.

                                28           35.       The inapplicable Medicare reimbursement rates applied by Health Net were only

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                               1    misapplied to BH/SUD treatment services, not medical and surgical services, and therefore violate

                               2    the Mental Health Parity and Addiction Equity Act of 2008 ("MHPAEA"), made applicable to

                               3    health insurance companies in the State of California pursuant to California Insurance Code section

                               4    10112.27.                 •        •

                               5           36.     Plaintiffs bring this action on behalf of themselves and on behalf of a class of

                               6    current California residents who are enrolled in, or who were emolled in, a Health Net PPO health

                               7    insurance contract, purchased on or after October 1,2013 (collectively, the "Class," or

                               8    individually, "Class Members").                    '

                                9          37.     Health Net's deceptive and fraudulent practices of representing and advertising that

                               10   its health plans have certain providers in the plans' networks when those providers are not actually

                               11   in the plans' networks violates California Insurance Code provisions, as well as the Unfair
                   o
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                o rJ IV.       12   Competition Law ("UPL"), California Business and Professions Code sections 17200, et seq., and
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                a - < A<       13   the Consumers Legal Remedies Act ("CLRA"), California Civil Code sections 1750, et seq.
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                8gl^                       38.     Through its conduct as,described herein, Health Net has breached the individual
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                               15   PPO contracts entered into with Plaintiffs and the Class Members and breached the implied
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                o O2 W >       16   covenant of good faith and fair dealing in each of those PPO contracts,
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                               17          39.     Plaintiffs seek to recover damages resulting from Health Net's breach of contract

                               18 and breach of the implied covenant of good faith and fair dealing; an order of this Court enjoining
                               19   Health Net's continued violations; an order for restitution of all monies paid for Health Net PPO

                               20   Policies in an amount reflecting the difference in the value of the PPO Policies with the providers

                               21   as misrepresented at any time since October 1, 2013, and the value of the PPO Policies with the

                               22   actual reduced provider networks, and other remedies as set forth herein.

                               23                                      FACTUAL ALLEGATIONS

                               24           40.    On November 4, 2015, Martin completed a Health Net Small Business Application

                               25   for Group Enrollment, choosing the Health Net Gold 80 PPO policy (the "Policy"), to be effective

                               26   December 1,2015.
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                               27           41.    On the enrollment application for the Policy, Martin included as family members to
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                               28   be insured under the Policy, his wife, Kathleen, their son, Alex, and their other two sons.
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                                   1           42.     In selecting the Health Net PPO Policy, Plaintiffs were relying upon

                                   2    representations made by Health Net concerning access to an adequate network of providers of

                                   3    health care services, including BH/SUD providers.

                                   4           43.     On Tuesday, May 3,2016, Alex was transported by American Medical Response

                                   5    West to Santa Barbara Cottage Hospital, where he was admitted for psychiatric evaluation.

                                   6           44.     Alex was then transferred to Aurora Vista del Mar Hospital, an acute psychiatric

                                   7    facility in Ventura County.

                                   8           45.     Kathleen and Martin were advised that they would need to find a BH/SUD

                                    9   residential treatment center where Aurora Vista del Mar Hospital could discharge Alex following

                                   10   his hospitalization.

                                   11           46.    Kathleen began her search in earnest for a BH/SUD residential treatment facility

                                   12   that had contracted with Health Net to be included within the Health Net network of providers, as
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            <;
                  2i<;s            13   represented in Health Net's advertisements, marketing materials and in its directory available
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                                   14   through the Health Net website portal.            .
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              o^ o                 15           47.    Kathleen traveled from San Diego County to Santa Barbara County, where Alex
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                                   16   was originally admitted to Cottage Hospital and which was proximately located to Aurora Vista
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                                   17   del Mar Hospital. She checked into a hotel room and tirelessly researched facilities, placed phone

                                   18   calls to facilities, and tried desperately to complete the intake and application process only to be

                                   19   turned away each and every time.

                                   20           48.     Kathleen contacted Plaintiffs' insurance broker, David Archambault for help.. Mr.

                                   21   Archambauit's office provided Kathleen with instructions for how to access the Health Net

                                   22   website portal for online access to the Provider Directory, found at www.healthnet.com. but

                                   23   warned Kathleen that Health Net's website is hard to navigate.

                                   24           49.     Kathleen accessed the Health Net online directory and immediately experienced

                                   25   difficulty with her search for BH/SUD in-networlc providers. None of the facilities listed in

                                   26   Kathleen's search results were BH/SUD residential treatment facilities and the search feature for

                                   27   in-network providers was limited to within 30 miles of Plaintiffs' home in San Diego County,

                                   28   despite the fact that Alex was hospitalized in Ventura County. Kathleen again contacted Mr.

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                              1    Archambault and advised him of her difficulty locating a Health Net BH/SUD in-network

                              2    provider.

                              3           50. . With the help of Mr. Archambault, Kathleen was able to navigate the online Health

                              4    Net Provider Directory. However, she quickly found that there was no available BH/SUD in-

                              5    network provider able to treat Alex. Just as quickly, Kathleen also found that BH/SUD out-of-
                                                                                                                               /


                              6    network providers were not willing to treat a Health Net insured because Health Net had initiated a

                              7    dragnet SIU investigation to cut off reimbursement of BH/SUD out-of-network providers.

                               8          51.     As of Friday May 6,2016, after days of constant searching and calling BH/SUD

                               9   residential treatment facilities, Plaintiffs were told by in-network providers that they either did not

                              10   provide the BH/SUD services Alex needed, did not have an available bed for Alex, or that they

                              11   would not agree to treat Alex because he was already admitted at an equivalent level of care
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              o r»            12   facility. Plaintiffs were told by out-of-network providers that, although they had space available

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                              13   and provided the services Alex needed, they could no longer admit and heat Health Net insureds
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                              14   because Health Net refuses to reimburse BH/SUD out-of-network providers for services rendered.
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                                           52.     Kathleen reported back to Mr. Archambault about her efforts to locate a residential
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                              16   treatment facility that would accept Alex. Kathleen advised Mr. Archambault that time was of the
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                              17 essence; that Alex would be at risk of dying if she and Martin could not find a residential

                              18   treatment facility that would agree to admit Alex before Alex was scheduled to be discharged from

                              19   Aurora Vista del Mar on Monday, March 9,2016.

                              20           53. • On May 6,2016, Mr. Archambault reported back to Kathleen that he had left a

                              21   message and had sent an e-mail to Health Net, asldng for help and direction for a behavioral health

                              22   care coordinator.

                              23           54.     That same evening on May 6, 2016, Kathleen sent an e-mail to Mr. Archambault,

                              24   advising him of her research into Health Net and her efforts to find out why out-of-network

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                              25   BH/SUD residential treatment facilities would no longer treat Health Net insureds. Kathleen

                              26   explained that she had spent the entire day researching treatment facilities, following leads,
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                              27 contacting facilities, only to then be turned away because Plaintiffs' insurance was through Health

                              28   Net. In her research to determine why facilities would not treat Health Net insureds, Kathleen

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                                   1    found an online article that explained how Health Net had instituted an industry-wide dragnet

                                   2    investigation of alleged fraud in the BH/SUD treatment industry. Health Net was aggressively

                                   3    pursuing its allegations of fraud against out-of-network BH/SUD residential treatment facilities

                                   4    and refusing to pay those facilities during the investigation.

                                   5           55.     On Saturday, May 7,2016, Martin contacted Health Net and demanded that they

                                   6    provide a list of in-network BH/SUD residential treatment facilities. He was provided a list of in-

                                   7    network providers and Kathleen began contacting each one. Every one of the in-network

                                   8    providers on the list provided by Health Net were rehabilitation hospitals for treatment of strokes,

                                   9    traumatic brain injury and other physical rehabilitation services. None of the providers on tire list

                                   10   from Health Net were BH/SUD providers.

                                   11           56.    Kathleen then contacted an organization that seeks to place patients in residential

            ta Oz ro h-
                     1             12   treatment centers across the country, but was advised that most of the out-of-network BH/SUD
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                                   13   providers across the country were no longer accepting Health Net patients.
            CQ
               s5 gr: su. ^ Zi                  57.     Kathleen reported back to Mr. Archambault on May 7,2016, that it appeared
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                aSits
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                o^;o^              15   Health Net was not able to provide an adequate network of BH/SUD providers that Plaintiffs had
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                                   16   contracted for, and she inquired of Mr. Archambault whether it would be possible to switch to
            o
                                   17   another health insurance plan so that Alex could get the treatment he needed.

                                   18           58;     Kathleen and Martin also discussed amongst themselves the difficulty to first locate

                                   19   an in-network provider and then the difficulties locating an out-of-network provider willing to

                                   20   treat a Health Net insured. They felt as though they needed to consider different options so that

                                   21   Alex could get the treatment he needed, but one option they were not willing to consider was

                                   22   depriving Alex of the treatment he needed and risk death just because Health Net was not

                                   23 providing the services they contracted for.

                                   24           59.     Later that evening on May 7, 2016, Martin sent an e-mail to Health Net, explaining

                                   25   that he had previously requested a list of all in-network BH/SUD residential treatment facilities

                                   26   who could provide treatment to Alex for his BH/SUD, and how the list Health Net provided him

                                   27   was completely useless, Martin also advised Health Net that the out-of-network providers were all

                                   28   unwilling to treat Health Net insureds.

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         1           60.     On Sunday, May 8, 2016, Mr. Archambault was able to answer Martin and

         2    Kathleen's question about possibly changing insurance so that Alex could get the treatment lie

         3    needed. Unfortunately, due to restrictions upon open enrollment periods, Mr, Archambault

         4    reported that Plaintiffs would not be able to change their insurance plan until June 1,2016, weeks

         5    after Alex would need to be admitted to a residential treatment facility.

         6            61.    On the night of May 8, 2016, Kathleen sent an e-mail to Mr, Archambault, again

         7    asking for his help in obtaining a list of in-network providers from Health Net so that she could

         8    begin calling facilities again prior to Alex' scheduled discharge from Aurora Vista del Mar the

         9    following day. Martin sent a similar e-mail to Mr. Archambault in the early morning hours of

        10    Monday, May 9,2016. Kathleen and Martin were desperately searching for an in-network

        11    provider able to treat Alex or an out-of-network provider willing to treat a Health Net;insured

        12    before it was too late for Alex.

        13            62.    Mr. Archambault could not gain any further assistance form Health Net or provide

        14    any answers to the many questions of why it seemed like no provider would treat a Health Net

        15    insured. However, Mr. Archambault did gain the assistance of a behavioral health case manager

        16    to assist in their search for a residential treatment facility. However, they still were unable to find

        17    an available residential treatment facility.                       -

        18            63.     Mr. Archambault had forwarded Kathleen's May 6,2016, e-mail that same day to

        19    Ruth Haskins of Health Net, with a copy of the e-mail sent to Cindy James of Health Net. Mr.

        20    Archambault asked Ms. Haskins how it was that he was receiving complaints like this from his

        21    clients. Mr. Archambault explained that Kathleen was looking for a BH/SUD residential

        22    treatment facility for Alex and admitted that he was unable to assist her. He asked Ms. Haskins if

        23    there was a case manager or coordinator who could assist. He also asked Ms. Haskins if Health

        24    Net stopped contracting with BH/SUD providers or stopped paying out-of-network BH/SUD

        25    providers.

        26            64.     Ms. Haskins responded to Mr. Archambault three days later, on May 9,2016,

         27   advising that she had reached out to Account Services and determined that, since Plaintiffs were

         28   still searching for a provider and not already under the care of a provider, that there was no one at

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                                        1    Health Net that would assist them. Ms. Haskins advised Mr. Archambault of her communications

                                        2    with Shaip Mesa Vista and UCSD, and, promised to advise of any further information she was

                                        3    able to gain.

                                        4            65.     Mr. Archambault provided Martin with a copy of Ms. Haskins' e-mail, and Martin

                                        5    replied to Ms. Haskins by e-mail on May 9, 2016. He explained that the information Ms. Haskins

                                        6    provided was useless, since Kathleen had already contacted Scripps Mesa Vista and UCSD and

                                        7    had learned that they do not provide BH/SUD residential treatment. Martin further explained that

                                        8    they had switched their health care coverage to Health Net at the end of 2015 and that they were

                                        .9   paying approximately $2,500 per month for coverage in reliance upon Health Net's

                                        10   representations as to its provider networks, and that now that they need that insurance coverage,

                                        11   they are finding that there are no in-network providers available and all out-of-network providers

            W                           12   had stopped treating Health Net insureds because of HealthNet's refusal to reimburse the
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                                        13 providers. Martin provided Ms. Haskins with his telephone number and asked that she contact
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                                        14   him as soon as possible.
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                   _2  £z2oy^           15           66.     In the late afternoon of May 9,2016, Martin sent an e-mail to Mr. Archambault,
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                                        16   advising that Ms. Haskins had not called back, nor had anyone at Health Net called, despite his
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                                        17   numerous calls and messages, He explained that Alex had been discharged and that they were in a

                                        18   desperate situation,

                                        19           67.     On the night of May 9, 2016, Kathleen sent an e-mail to Mr, Archambault, in which

                                        20 she describes a realization that their inability to find an in-network provider able to treat Alex or

                                        21   an out-of-network provider willing to treata Health Net insured was most likely the result of a

                                        22   fraudulent scheme by Health Net. Kathleen explained that she came to understand that Health Net

                                        23   wanted to appear more profitable for its merger with Centene and that Health Net decided to stop

                                        24   paying claims submitted by BH/SUD providers. She opined that Health Net likely calculated that

                                        25   it would be less expensive and easier to not pay for services to treat drug addicts and the mentally

                                        26   ill, since Health Net likely figured they are less sympathetic and less able to able to fight for the
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                                        27   rights provided under the PPO Policies.

                                        28           68.     Mr. Archambault responded to Kathleen the following morning on May 10,2016.

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                                     1    He acknowledged Kathleen and Martin's frustration with their unsuccessful search for a treatment

                                     2    provider, and he expressed his own frustration with Ms. Haslcins of Health Net not responding to

                                     3    Martin after she promised to do so. Mr. Archambault also mentioned that he reached out to a

                                     4    friend of his who was a vice president of sales for Health Net to see if he could gain some

                                     5    assistance. Mr. Archambault even acknowledged that he had lost some respect for Health Net.

                                     6           69.     Kathleen, working any and all angles to find a facility able and willing to treat

                                     7    Alex, resorted to contacting numerous organizations that seek to place patients with residential

                                     8    treatment facilities. Two such organizations she worked with, were able to find two residential

                                     9    facilities willing and able to admit Aiex, other providers declared that no out-of-network provider

                                     10   in the country would treat a Health Net insured since Health Net's SIU investigation and cessation

                                     11   of reimbursement payents.

               W                     12           70.    On May 12,2016, Kathleen was able to fill out the necessary admission and
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               >-)<   O 2 t o 13          financial responsibility paperwork for The Canyon at Peace Park in Malibu, an out-of-network
              (0
                       r - S S ' z 14     provider that was willing to accept Alex despite being a Health Net insured.
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              a       o^<o<          15           71.    On May 13, 2016, Mr. Archambault spoke with Christina Diamantis of Health Net
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                j u- Z H -» S        16   and explained the impossible situation Plaintiffs were in and their unreasonably difficult efforts to
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                                     17   locate a treatment facility for Alex, Mr. Archambault followed up his phone call by sending

                                     18   Kathleen's May6, 2016, e-mail to Ms. Diamantis, which set forth the reports of Health Net's

                                     19   industry-wide dragnet SIU investigation and Health Net's refusal to reimburse out-of-network

                                     20   BH/SUD treatment providers.

                                     21           72.    After Alex was finally placed at The Canyon, Health Net persisted in its bad faith

                                     22   and fraudulent conduct by reimbursing Plaintiffs' claims for Alex's treatment at a rate for out-of-

                                     23   network providers, instead of complying with Title 10 of the California Code of Regulations

                                     24   sections 2240 et seq. that precludes an insurer like Health Net from forcing the insured to bear any

                                     25   increased cost for the health care services rendered by out-of-network providers when the insured
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                                     26   is forced out-of-network due to a network inadequacy.

                                     27           73.    To cause further injury and damage to Plaintiffs, Health Net reimbursed Plaintiffs

                                     28   for the expenses incurred at The Canyon using Medicare reimbursement rates that do not apply to

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                                1    the services rendered, resulting in an underpayment of The Canyon's billed charges and a resulting

                                2    increase in Plaintiffs' out of pocket expenses for the medically necessary, covered health care

                                3    services.

                                4              74.   The inapplicable Medicare reimbursement rates applied by Health Net were only

                                 5   misapplied to BH/SUD treatment services, not medical and surgical services, and therefore violate

                                6    the MHPABA and California Insurance Code section 10112.27.

                                 7                              HEALTH NET'S WRONGFUL CONDUCT

                                 8             75.   Health Net's website has at all relevant times offered a feature that allows potential

                                 9   enrollees to search Health Net's provider networks, and Health Net also allows enrollees to obtain

                                10   provider network information over the phone. In addition, Health Net included representations

                                11   concerning its provider networks in its marketing, sales, and plan informational materials.
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           V zO ->o l           12             76.   In an effort to increase its share of the California health plan market. Health Net
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           < s? o z < j.        13   engaged in a fraudulent and deceptive marketing scheme leading up to and during the 2014 Open
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                                14 Enrollment Period and thereafter, by misrepresenting its provider networks during the open
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                                15   enrollment periods in order to increase sales of its health plans and concealing that its networks
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             J    o             16   were significantly more limited than its networks prior to the 2014 Open Enrollment Period.
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                                17             77.   Health Net has and maintains an inadequate network of BH/SUD treatment

                                18   providers while our nation is gripping with a raging epidemic of substance use disorders.

                                19             78.   Drug overdoses have become the leading cause of death of Americans under 50,

                                20   with two-thirds of those deaths from opioids.

                                21        •    79.   From 1999 to 2015,568,699 persons died from drug overdoses in the United

                                22   States.

                                23             80.   Drug overdose deaths in the United States increased 11.4%, from 2014 to 2015,

                                24   resulting in 52,404 deaths in 2015, including 33,091 (63.1 %) that involved an opioid.

                                25             81.   In 2016, there were 63,632 drug overdose deaths in the United States. Opioids
    Uf
                                26   accounted for 66,4% (42,249) of the deaths, with increases across age groups, racial/ethnic groups,
    •f*                         27   urbanization levels, and multiple states.

                                28             82.   On average, 115 Americans die every day from an opioid overdose. Drug

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                                    1    overdoses now cause more deaths than either car accidents or guns.

                                    2            83.      The opioid crisis has destroyed lives and devastated families. It is the. deadliest

                                    3    drug crisis in United States history and it is only getting worse. In 2016 aione, California lost

                                    4    1,925 lives to the opioid epidemic.

                                    5            84.      In light of this epidemic, between 2014 and 2016, hundreds of out-of-network

                                    6 BH/SUD providers treated thousands of patients who had PPO policies provided by Health Net,

                                    7 after verification of benefits by, and prior authorization from, Health Net.

                                    8            85.      The Health Net PPO policies covering these patients, like Alex, required

                                    9    reimbursement at 75% of the covered charge billed by the provider, Up until January 2016,

                                    10   Health Net had reimbursed out-of-network BH/SUD providers at 75% of their billed charges.

                                    11   That stopped, and in fact, all payments stopped for out-of-network BH/SUD services when Health

            w o                     12   Net instituted its groundless dragnet SIU investigation. •
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                         O   13       86.      Health Net wrote the language in its PPO Policy that requires reimbursement at
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                    2 2 -r t.)      15   implementation of the ACA, but when it came time to pay claims under those PPO policies.
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                                    17   increase its sales price for an anticipated acquisition by Centene that was completed in March

                                    18   2016.

                                    19              87.   Health Net had explored the market for a suitor for two years before its 2016

                                    20   merger with Centene. Health Net CEO Jay Getlert and Centene CEO Michael Neidorff first met

                                    21   in November 2014, to discuss a potential merger, but did not initiate negotiations. Health Net

                                    22   apparently spoke with two other interested buyers in the beginning of 2015, but those negotiations

                                    23   stalled.

                                    24              88.   In May 2015, Health Net reported its first-quarter profits had edged slightly

    Ui
                                    25   upward. More notable was Health Net's swelling membership, the result of the ACA and a

                                    26   generous policy form that provided reimbursement levels greater than its competitors. Individual

                                    27   membership climbed 74% to 360,000. Health Net's first-quarter revenue jumped 28% to $3.9

                                    28   billion. Net income increased 4% to $30 million, equaling a 0.8% profit margin,

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         1          89.     After the positive financial report, Centene returned to Health Net and negotiations

         2   began in earnest in June 2015. On July 2, 2015, Health Net announced that it had entered into a

         3   merger agreement with Centene under which Centene would acquire all of the issued and

         4   outstanding shares of Health Net. In October 2015, Health Net's stockholders voted to approve the

         5   adoption of the merger agreement with Centene. "When the deal was finalized, it was valued at

         6 $6.8 billion. Health Net's CEO received a golden parachute worth $54 million and the CFO

         7   received a golden parachute of $23.4 million.

         8          90. • In January 2016, Health Net abruptly stopped paying out-of-network BH/SUD

         9   claims. Health Net sent a letter to numerous out-of-network BH/SUD treatment facilities in

        10   California, outlining a "number of potential concerns" about "false and/or fraudulent claims,"

        11   followed by more letters in February and March to out-of-network BH/SUD facilities and to

        12   patients, requesting proof that the providers had collected the patient's deductibles, co-pays or co­

        13   insurance,                                                        •

        14          91.     By March 2016, Health Net had developed a scheme to underpay the out-of-

        15   network BH/SUD claims by implementing institutional policies and procedures that instructed its

        16   claims personnel to refer out-of-network BH/SUD claims for special handling and, if cleared for

        17   payment, to not pay out-of-network BH/SUD claims at 75% of billed charges, as required by the

        18   Policy, and to instead use the inapplicable Medicare reimbursement rate.

        19           92.    In July 2016, Centene was forced to disclose to its shareholders that Health Net had

        20   incurred $390 million in liabilities for out-of-network BH/SUD claims, which existed as of the

        21   March 24, 2016 merger date, but had not been properly accounted for and disclosed, The

        22   increased liabilities were greater than Health Net's entire pre-tax annual earnings in recent years,

        23   making clear that Health Net's earnings had been vastly overstated. Centene was forced to record

        24 these increased liabilities in filings with the U.S. Securities and Exchange Commission, and

        25   Health Net's revenue and income were both reduced drastically, prompting Centene to request

        26   premium increases and benefit design changes, including reductions in reimbursement for out-of-

        27   network BH/SUD services.                                                                            '

        28           93.    Centene and Health Net worked feverishly to control the bad publicity. On July 26,

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                                1    2016, for instance, during an analyst call, Centene CFO Jeffrey Schwaenke, discussing losses from

                                2    Health Net-related out-of-network BH/SUD claims in California said, "[w]e have taken steps to .

                                3    mitigate the substance abuse treatment center cost in the individual commercial business in

                                4    California including modifications to plan design," and that Centene was "actively working" to

                                5    "ensure we maintain a competitive individual commercial product in 2017."

                                6           94.     Centene CEO Michael Neidorff added in that same analyst call that Centene was

                                7    "being very aggressive in fixing it." He explained further that Centene was "working with the

                                8 state at the highest levels to redesign the PPO product. There were major flaws in it, and we
                                9    corrected that." Later, he reiterated that, "the behavioral issue is being dealt with with [sic] the

                                10   benefit designs." Mr. Neidorff explained that the Health Net PPO plans had "product design

                                11   issues," but insisted, "[wje're closing -1 don't want to call it loopholes - some openings."
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            jo z o              12          95.     On July 28, 2016, appearance on the CNBC show, "Mad Money," Mr. Neidorff
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           <•j 2| _, •!         13   responded to a question regarding losses in Health Net's California business by stating, "we have
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                       u. Z z   14   an issue there .,. that the individual PPO had a bad product design."
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            w is    ^o<         15           96.     Further, during another analyst call on October 23, 2016, Mr. Neidorff returned to
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                       JU ^     16   the issue of the design flaws in Health Net's PPO Policy and Centene's efforts to fix them. He
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                                17   detailed some of the key changes, including "the first time inclusion of an out-of-network

                                18   deductible for platinum and gold plans," a "significant increase in the out-of-network maximum

                                19   out-of-pocket level," the "elimination of non-emergent out-of-state coverage and travel network

                                20   access," the "elimination of the default rate of 75% of billed charges to out-of-network services

                                21   that do not have a Medicare rate," and "restrictions on third-party premium payments, which were

                                22   not included in the original 2016 offering."

                                23           97.     Speaking further about Health Net's PPO plan prior to 2017, Mr. Neidorff said,

                                24   "when you took at... the out-of-network coverage, the benefit design they had before without the

                                25   Medicare Maximum and the other issues where there was a percent of billed charges, basically

                                26 out-of-network providers could do what they wanted and we are liable at a time for 75% of billed
                                27   charges 'til they change their certificate of coverage."

                                28           98.     In addition, at the Morgan Stanley Global Health Care Conference on September

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                                                                                 COMPLAINT


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                               1    13, 2016, Mr. Neidorff stated that Centene had "dealt with" its losses and liabilities for Health Net

                               2 out-of-network BH/SUD claims in California by "chang[ing] the benefit level," and said it was
                               3    working to "fix the PPO in California." He added, "[t]here were some design flaws that were just

                               4 so obvious to those of us who have been doing it for a long time. Those have been fixed." Mr.

                               5    Neidorff went on to explain some of the "design flaws" in the Health Net PPO Policy that had led

                               6    to its liability for out-of-network BH/SUD claims in California:

                               7                     There were not the incentives. A PPO is designed to give people an
                                                     option to go out of network, but really it should be designed to
                                Q
                                O                    encourage people to stay in network. This had none of that. There
                                                     were no caps on maximum allowances. We had the most liberal - or
                               9                     Health Net had the most liberal PPO out there, which encouraged
                                                     adverse selection, ... But we knew we had the prior purchase
                               10                    accounting methodology to deal with it. And we knew what it would
                                                     take to fix it. And that's just what we have been doing, very
                               11                    methodically. And we're very comfortable.
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                                              99.    Health Net knew it had a "bad product" that provided generous levels of
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              tc ZZ < <5 13 reimbursement for out-of-network BH/SUD claims. By withholding payments to hundreds of
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              s g c ? *< 14 facilities for thousands of claims worth tens of millions of dollars, beginning in January 2016,
                 £h
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            K Sz z °S 15 Health Net was able to contrive a reduction in liabilities that improved the overall equity of Health
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            J is s < £ i
            < s g s - l 16 Net and its value to Centene pre-merger, thereby improving Health Net's sale price to Centene.
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                         17          100. Furthermore, Centene states in its financial disclosure, "if the accounting for the

                               18   business combination is incomplete, provisional amounts are recorded .., up to one year from the

                               19   acquisition date." In essence, by delaying, disputing and withholding payments to substance use

                               20   treatment facilities, Centene was able to smooth out its profit over the four quarters post-merger,

                               21   Health Net's SIU investigation in effect allowed Centene to prop up its profits until the out-of-

                               22   network BH/SUD claims trapped in the audit are "resolved" in subsequent quarters.

                               23             101.   Health Net initiated an SIU audit as a pretext to allow Health Net to artificially

                               24   depress its liabilities (the out-of-network BH/SUD claims), increase its pre-merger equity, and to

                               25   allow Centene to spread the unaccounted for liabilities across the post-merger quarters.

                               26             102.   Health Net and Centene furthered this deceptive, fraudulent, bad faith scheme by

                               27   substantially reducing the reimbursement for substance use treatment, in March 2016, when

                               28   Health Net implemented its policies and procedures with instructions to not pay out-of-network

                                                                                     -20-
                                          '                                     COMPLAINT


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                                    1    BH/SUD claims at 75% of billed charges, and to instead use an inapplicable Medicare

                                    2    reimbursement rate, •

                                    3           103.     All of this was designed to increase the value of the merger and executive bonuses

                                    4    at the expense of insured members in need of BH/SUD services and the providers of such services.

                                    5           104.     At the Wells Fargo Securities Healthcare Conference, on September 7,2016,
                                                                                                                                 ;
                                    6    Centene's Vice President of Fmance, Edmund E. Kroll, admitted that Health Net had wrongfully

                                    7    denied many of the out-of-network BH/SUD claims:

                                    8                    [Health Net] denied a lot of claims that [Centene] determined should
                                                         be on the books [because]they were owed.
                                    9

                                    10          105.     Through its conduct of misrepresenting provider networks, failing to maintain

                                    11   adequate provider networks, initiating a groundless dragnet SIU investigation and refusal to

                                    12   reimburse out-of-network BH/SUD claims to unduly restrict the availability of out-of-network
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            t—l
                  z "? o 13 providers, and reimbursing out-of-network BH/SUD claims with an inapplicable Medicare
                  a.
           W o
               5 ^ £;i 14 reimbursement rate in contravention of the express Policy terms. Health Net violated the
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                             California Insurance Code and implementing regulations, the MHPAEA, the UCL and the CLRA.
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             \ o*        $                                     CLASS ALLEGATIONS
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                                    17           106.    This action is brought on behalf of Plaintiffs individually and on behalf of all others

                                    18   similarly situated pursuant to Code of Civil Procedure section 382 and Civil Code section 1781.

                                    19   Plaintiffs seek to represent the following class:

                                    20           All California residents who purchased a Health Net PPO Policy on or after October 1,

                                    21           2013.

                                    22           107.    Plaintiffs reserve the right under Rule 3.765(b) of the California Rules of Court to

                                    23   amend or modify the class description with greater specificity, by further division into subclasses

                                    24   or by limitation to particular issues.

                                    25           108.    The proposed Class is composed of thousands of persons dispersed throughout the

                                    26   State of California and joinder is impractical. The precise number and identity of Class Members
    4'yl                            27   are unknown to Plaintiffs but can be obtained from Health Net's records.

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                                    28           109.    There are questions of law and fact common to members of the Class, which

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                           1    predominate over questions affecting only individual Class Members.

                           2           110.     Plaintiffs are members of the Class and Plaintiffs' claims are typical of the claims

                           3    of the Class.

                           4           111,     PIaintiffs.,are willing and prepared to serve the Court and the proposed Class in a

                           5    representative capacity. Plaintiffs will fairly and adequately protect the interests of the Class and

                           6    have no interests adverse to or which conflict with the interests of the other members of the Class.

                           7    •       112.    The self-interest of Plaintiffs is co-extensive with and not antagonistic to those of

                           8    absent Class members. Plaintiffs will undertake to represent and protect the interests of absent

                            9   Class members.                                                                           .        •

                           10           113.    Plaintiffs have engaged the services of counsel indicated below who are

                           11   experienced in complex class litigation, will adequately prosecute this action, and will assert and
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             0"»»-         12   protect the rights of and otherwise represent Plaintiffs and absent Class Members.
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             Ss ^ 1- >
                           13           114. ' The prosecution of separate actions by individual members of the Class would

                           14   create a risk of inconsistency and varying adjudications, establishing incompatible standards of
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                           15   conduct for Health Net.
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                           16           115.    Health Net has acted on grounds generally applicable to the Class, thereby making
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                           17   relief with respect to the members of the Class as a whole appropriate,

                           18           116.    A class action is superior to other available means for the fair and efficient

                           19   adjudication of this controversy. Prosecution of the complaint as a class action will provide redress

                           20   for individual claims too small to support the expense of complex litigation and reduce the

                           21   possibility of repetitious litigation.

                           22           117.    Plaintiffs do not anticipate any unusual or difficult management problems with the

                           23   pursuit of this Complaint as a class action.

                           24

                           25

                           26

                           27

                           28

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                                                                            COMPLAINT


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         1                                      FIRST CAUSE OF ACTION

         2             Violations of Business & Professions Code Section 17200, et seq. - the UCL

         3                                       As Against Ail Defendants

         4           118.    Plaintiffs incorporate by reference each of the preceding paragraphs as though fully

         5   set forth herein.

         6           119.    The UCL prohibits acts of "unfair competition," which is defined by Business and

         7 Professions Code section 17200 as including "any unlawful, unfair or fraudulent business act or

         8   practice...."

         9           120.    Health Net's conduct, and the conduct of DOES 1 through 100, as described above,

        10   constitutes unlawful business acts and practices.

        11           121.    Health Net and DOES 1 through 100 have violated and continue to violate the

        12   UCL's prohibition against engaging in "unlawful" business acts or practices, by, inter alia,

        13   violating provisions of the California Insurance Code and implementing regulations, the

        14   MHPAEA, and the CLRA by the conduct alleged herein, including but not limited to:

        15                   a.      By misrepresenting the providers that would be in-network under Plaintiffs'

        16   and Class Members' PPO Policies, Health Net's advertisements are not "truthful" and are

        17 "misleading in fact or in implication" in violation of 10 CCR § 2536.1(b).

        18                   b.      By misrepresenting the providers that would be in-network under Plaintiffs'

        19   and Class Members' PPO Policies and by misrepresenting the size of the available provider

        20   networks, Health Net is failing to "provide, in easily understood language and in a uniform,

        21   clearly organized manner" information about the PPO Policies, including the "principal benefits

        22   and coverage of the disability insurance policy" and the "exceptions, reductions, and limitations

        23   that apply to such policy" in violation of Insurance Code sections 10603(a)(1) and 10604(a).

        24                   c.      By misrepresenting the providers that would be in-network under Plaintiffs'

        25 and Class Members' PPO Policies, Health Net's Policies are not "fab- and reasonable" and

        26   "inconsistent with standards of good health care and clinically appropriate care" in violation of

        27   Insurance Code section 10133.5.

        28                   d.      By misrepresenting the providers that would be in-network under Plaintiffs'

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                                         and Class Members' PPO Policies, Health Net has failed to "ensure that,,, [n]etwork providers

                                         are duly licensed or accredited and that they are sufficient, in number or size, to be capable of

                                         furnishing the health care services covered by the insurance contract, taking into account the

                                         number of covered persons, their characteristics and medical needs including the frequency of

                                         accessing needed medical care within the prescribed geographic distances outlined herein and the

                                         projected demand for services by type of services" in violation of 10 CCR § 2240.1(b)(1).

                                                          e.     By refusing to provide continuity of care with a patient's physician for an

                                         acute condition, serious chronic condition, pregnancy, terminal illness, a newborn child, or

                                         performance of surgery to consumers during their course of treatment. Health Net is failing to

                                    10   provide covered services in violation of Insurance Code section 10133.56,

                                    11                    f.     By implementing policies and procedures applicable only to BH/SUD

            US                      12   services and required reimbursement of such services at inapplicable Medicare reimbursement
            2
            -j                      13   rates. Health Net violated theMHPAEA, and Insurance Code section 10112.27.
            P3
                 :2S2i
                  ;S <              14                    g.     By engaging in the conduct alleged herein, Health Net's conduct also
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            ,-J ' Oz wg             16           122.     Plaintiffs and Class Members have suffei-ed injury in fact and lost money and
            o     • h   1
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                                    17   property as a result of Health Net and DOES 1 through 100's unlawful business acts and practices

                                    18   by, inter alia, receiving lesser coverage under their PPO Policies, paying unexpected out-of-pocket

                                    19   costs and inflated premiums, and paying out-of-pocket costs and premium amounts in excess of

                                    20   what would have been paid if Health Net and DOES 1 through 100 had accurately disclosed its

                                    21   provider networks.

                                    22           123,     Health Net and DOES 1 through 100's conduct does not benefit consumers or

                                    23   competition. Indeed the injury to consumers and competition is substantial,

                                    24           124.     Plaintiffs and Class Members could not have reasonably avoided the injury each of

   Uf
                                    25   them suffered.

                                    26           125,     The gravity of the consequences of Health Net and DOES 1 through 100's conduct
   4ii
                                    27   as described above outweighs any justification, motive or reason therefor and is immoral,

                                    28   unethical, oppressive, unscrupulous, and offends established public policy delineated in California

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                                                                                    COMPLAINT


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                               law, the Insurance Code and implementing regulations.

                          2           126.    Health Net and DOES 1 through 100's acts as described above constitute

                          3 fraudulent business practices under the UCL.

                          4           127.    Health Net and DOES 1 through 100's misleading and fraudulent representations,

                          5    advertising, marketing, and communications are likely to deceive reasonable California

                          6 consumers. Plaintiffs and Class Members were deceived regarding the provider networks and

                          7    Health Net's other misrepresentations and omissions as more fully described herein.

                           8          128.    Health Net and DOES 1 through 100's misrepresentations and omissions were

                           9   material and were a substantial factor in Plaintiffs' and Class Members' decisions to enroll in and

                          10   renew their PPO Policies. Such acts are fraudulent business acts and practices.

                          11          129.    These acts and practices resulted in and caused Plaintiffs and Class Members to pay

            O)            12   more for their health plans than they would have absent Health Net and DOES 1 through 100's
            5
                                13 fraud.                                         •     •
            CQ k 5 S s
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               ^ 5 £ 2 z 14               130. Plaintiffs and Class Members have been injured by Health Net and DOES 1
            <;  <    "   0w3
            a o2w mg << ?o ^«-• 15 through 100's fraudulent business acts and practices by receiving lesser coverage under their PPO
                           z

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                   uj ^         16 Policies.
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                                17        131. As a result of Health Net and DOES 1 through 100's violations of the UCL,

                          18   Plaintiffs seek an order of this Court enjoining Health Net's continued violations, Plaintiffs also

                          19   seek an order for restitution of all monies paid for Health Net PPO Policies in an amount reflecting

                          20   the difference in the value of the PPO Policies with the providers as misrepresented at any time

                          21   since October 1, 2013, and the value of the PPO Policies with the actual reduced provider

                          22   networks.

                          23           132.   Plaintiffs and the Class Members are entitled to recover attorney fees and costs

                          24   pursuant to Code of Civil Procedure section 1021.5, as they are the catalyst for enforcement of

                          25   important rights affecting the public interest that confer a significant benefit on the general public.

                          26           133.   Health Net and DOES 1 through 100's conduct described herein was intended to

                          27   cause injury to Plaintiffs and members of the Class, and was despicable conduct carried on by

                          28   Health Net and DOES 1 through 100 with a willful and conscious disregard of the rights of

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                                                                          COMPLAINT


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                                  1    Plaintiffs and members of the Class, subjected Plaintiffs and members of the Class to cruel and

                                  2    unjust hardship in conscious disregard of their rights, and was an intentional misrepresentation,

                                  3    deceit, or concealment of material facts known to the Health Net and DOES 1 through 100 with

                                  4    the intention to deprive Plaintiffs and members of the Class property, legal rights or to otherwise

                                  5    cause injury, such as to constitute malice, oppression or fraud under Civil Code section 3294,

                                  6 thereby entitling Plaintiffs and members of the Class to punitive damages in an amount
                                  7    appropriate to punish or set an example of Health Net and DOES 1 through 100.

                                  8           134.    Health Net and DOES 1 through 100's conduct described herein was undertaken by

                                  9    their officers or managing agents, and was therefore undertaken on behalf of Health Net. Health

                                  10   Net further had advance knowledge of the actions and conduct of said individuals whose actions

                                  11   and conduct were ratified, authorized, and approved by managing agents whose precise identities

                                  12   are unknown to Plaintiffs at this time and are therefore identified and designated herein as DOES 1
            2< ^ "" S •«*••** 6
            -J                    13   through 100.
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            <% 5 - It ^ Z 14                                            SECOND CAUSE OF ACTION
                   EQ 2 t- •<
            5 - tuK O<-2HIr 5*1Zj
                                  15                       Violatious of Business & Professions Code § 17500, et seq, -
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                   QZ^I 16                                            the California False Advertising Law
            5s      '- 10


                                  17                                        As Against All Defendants

                                  18           135.    Plaintiffs incorporate by reference each of the preceding paragraphs as though fully

                                  19   set forth herein.

                                  20           136.    Health Net and DOES 1 through 100 violated California's False Advertising Law

                                  21   (Bus. and Prof. Code § 17500, et seq.) by making false and misleading representations iu

                                  22   advertising, marketing, and communications regarding provider networks and making other

                                  23   misrepresentations and omissions as more fully described herein.

                                  24           137.    These representations have deceived and are likely to deceive Plaintiffs and Class

                                  25   Members in connection with their decision to purchase their PPO Policies. Health Net and DOES

                                  26   1 through 100's representations also have deceived and are likely to deceive Plaintiffs and Class

                                  27   Members with respect to the expected costs they would be spending out-of-pocket under their

                                  28   PPO Policies. Health Net and DOES 1 through 100's representations were material and were a

                                                                                      -26-
                                                                                 COMPLAINT


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                                 1     substantia] and materia! factor in Plaintiffs' decisions to purchase their PPO Policies. Had

                                 2     Plaintiffs and Class Members known the actual facts, they would not have purchased the PPO

                                 3     Policies and paid out-of-pocket costs and premiums in excess of what they would have paid if

                                 4     Health Net and DOES 1 through 100 had accurately disclosed provider networks and the real

                                 5     terms, coverage and benefits provided by the PPO Policies.

                                 6            138.    Health Net and DOES 1 through 100 directly and indirectly, have engaged in

                                 7     substantially similar conduct with respect to Plaintiffs and to each member of the Class.

                                 8            139.    Health Net and DOES 1 through 100, and each of them, aided and abetted,

                                  9    encouraged and rendered substantial assistance in accomplishing the wrongful conduct and their

                                 10    wrongful goals and other wrongdoing complained of herein. In taking action, as particularized

                                 11    herein, to aid and abet and substantially assist the commission of these^wrongful acts and other
                 •z. O           12    wrongdoings complained of, each of the Defendants acted with an awareness of his/her/its primary

                                       wrongdoing and realized that his/her/its conduct would substantially assist the accomplishment of
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                                 14    the wrongful conduct, wrongful goals, and wrongdoing.
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            E g C < § 5 S 15                   140.    Plaintiffs and Class Members have suffered injury by Health Net and DOES 1
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                                 16    through 100's violation of Business and Professions Code section 17500, et seq.
            o
                                 17            141.    As a result of Health Net and DOES 1 through 100:s violations of the Business and

                                 18    Professions Code section 17500, Plaintiffs and Class Members seek an order of this Court

                                 19    enjoitiing Health Net's continued violations, Plaintiffs also seek an order for restitution of all

                                 20    monies paid for Health Net PPO Policies in an amount reflecting the difference in the value of the

                                 21    PPO Policies with the providers as misrepresented at any time since October 1,2013 and the value

                                 22    of the PPO Policies with the actual reduced provider networks.

                                 23            142.    Plaintiffs and the Class Members are entitled to recover attorney fees and costs

                                 24    pursuant to Code of Civil Procedure section 1021.5, as they are the catalyst for enforcement of

                                 25    important rights affecting the public interest that confer a significant benefit on the general public.

                                 26            143.    Health Net and DOES 1 through 100's conduct described herein was intended to

                                 27    cause injury to Plaintiffs and members of the Class, and was despicable conduct carried on by

                                 28    Health Net and DOES 1 through 100 with a willful and conscious disregard of the rights of
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    o>                                                                                 -27-
                                                                                  COMPLAINT


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                              1     Plaintiffs and members of the Class, subjected Plaintiffs and members of the Class to cniel and

                              2     unjust hardship in conscious disregard of their rights, and was an intentional misrepresentation,

                              3     deceit, or concealment of material facts known to the Health Net and DOES 1 through 100 with

                              4     the intention to deprive Plaintiffs and members of the Class property, legal rights or to otherwise

                              5     cause injury, such as to constitute malice, oppression or fraud under Civil Code section 3294,

                              6     thereby entitling Plaintiffs and members of the Class to punitive damages in an amount

                              7     appropriate to punish or set an example of Health Net and DOES 1 through 100.

                              8             144.    Health Net and DOES 1 through 100's conduct described herein was undertaken by

                              9     their officers or managing agents, and was therefore undertaken on behalf of Health Net. Health

                             10     Net further had advance knowledge of the actions and conduct of said individuals whose actions

                             11     and conduct were ratified, authorized, and approved by managing agents whose precise identities

            tQ               12     are unknown to Plaintiffs at this time and are therefore identified and designated herein as DOES 1

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                 1
                                    through 100.
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                 U'lns
                , 2 S i. - 14                                         THIRD CAUSE OF ACTION
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                 s S S g g 15                              Violations of Civil Code § 1750, et seq. — the CLRA
                 ^9 0Z I2 ^1>5 16                                        As Against All Defendants

                             17             145.    Plaintiffs incorporate by reference each of the preceding paragraphs as though fully

                             18     set forth herein.

                             19             146.    Under Civil Code section 1770, subdivision (a), of the CLRA, the following "unfair

                             20     methods of competition and unfair or deceptive acts or practices undertaken by any person in a

                             21     transaction intended to result or which results in the sale or lease of goods or services to any

                             22     consumer are unlawful":

                             23                     a.     "Representing that goods or services have sponsorship, approval,

                             24     characteristics, ingredients, uses, benefits, or quantities which they do not have or that a person
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                             25     has a sponsorship, approval, status, affiliation, or connection which he or she does not have." Civ.
    Ul
                             26     Code § 1770(a)(5)..

                             27                     b.     "Advertising goods or services with intent not to sell them as advertised."

                             28     Civ. Code § 1770(a)(9).             "

                                                                                    -28-
                                                                               COMPLAINT


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                               1                   c.      "Representing that a transaction confers or involves rights, remedies, or

                               2    obligations which it docs not have or involve, or which are prohibited by law," Civ. Code §

                               3    I770(a)(14),                                    •

                               4                   d. •    "Inserting an unconscionable provision in the contract. Civ. Code §

                               5    1770(a)(19).                                '

                               6           147.    Here, in connection with He-aith Net'engaging in the initial offering and monthly

                                7   transactions with consumers that were intended to result, or actually resulted in, the sale of

                                8   services. Health Net and DOES 1 through 100 have violated the CLRA, Civil Code section 1770,

                                9   subdivisions (a)(5), (a)(9), (a)(14), and (aX19) by:

                               10                  a.      Representing that its PPO Policies have provider network characteristics

                               11   and other terms and benefits which they do not have.
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            LU    zO
               Or^b            12                  b.      Advertising its PPO Policies as having provider network characteristics and
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                               13   other terms and benefits with the intent not to sell them as advertised.
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            ^ ?1 3~|           14                  c.      Representing that a transaction confers or involves provider network rights,
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                                    remedies, or obligations which they do not have,
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            H     oo           16                  d.      Adopting unconscionable contract provisions implementing inadequate
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                               17   provider networks, and concealmg material terms of the coverage.

                               18          148.    Such acts and practices were designed or intended by Health Net to convince Class

                               19   Members to initially purchase and renew their its PPO Policies each month. The CLRA "shall be

                               20   liberally construed and applied to promote its underlying purposes, which are to protect consumers

                               21   against unfair and deceptive business practices and to provide efficient and economical procedures

                               22   to secure such protection." For purposes of the CLRA, a "'[t]ransaction' means an agreement

                               23   between a consumer and any other person, whether or not the agreement is a contract enforceable

                               24   by action, and includes the making of, and the performance pursuant to, that agreement." Civil

   U'                          25   Code § 1761(e). Here, the "transactions" at issue governed by the CLRA include both the original

                               26   sale and the renewals of the its PPO Policies made and entered into by Health Net, Plaintiffs and

                               27   Class Members, as well as Health Net's performance of its obligations under such its PPO

                               28   Policies. In making decisions whether to initially purchase and renew their its PPO Policies, and

                                                   '                                    -29^
                                                                               COMPLAINT


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                               1    pay the rates imposed by Health Net, Plaintiffs and other Class Members reasonably acted in

                               2    positive response to Health Net's misrepresentations as set forth in detail herein, or would have

                               3    considered the omitted facts detailed herein material to their decisions to do so.

                               4           149.    Section 1761, subdivision (b), of the CLRA defines "services" as "work, labor, and

                               5    services for other than a commercial or business use, including services furnished in connection

                               6    with the sale or repair of goods." Health Net and DOES 1 through 100's ongoing "work and

                               7    labor" to establish, maintain, and improve BH/SUD provider networks is the core of the PPO

                               8    Policies at issue here.

                               9           150.    Health Net and DOES 1 through 100 violated the CLRA by committing unfair and

                               10   deceptive acts that directly undermined Plaintiffs' and Class Members' ability to access the

                               11   provider networks. Health Net's unfair and deceptive acts increased patient costs when accessing

            W    2             12   provider networks and unilaterally reduced treatments and services available from those provider
           1  p
           <* oc
                      ./ ' .   13   networks.
            PQ       ^Iss
                 i             14           151,   Plaintiffs and the Class Members have suffered harm as a result of these violations.
            % 3 JUOuuS
            <; £ - 2 -J
            K 5 £5°5 15             Plaintiffs and Class Members purchased and renewed PPO Policies, reasonably relying on Health
            < o^iS
                Si < "i s
            i-J ' oS
            •<d i- < •-   16        Net and DOES 1 though 100's material misrepresentations, inter alia, that certain providers
            O        h- UJ

                               17   would be in-network. Plaintiffs and members of the Class have also suffered transactional costs

                               18   by expending time and resources in the form of correspondence and telephone conversations in an

                               19   attempt to avoid the consequences of Health Net's unfair methods of competition and unfair or

                               20   deceptive acts. Plaintiffs and Class Members have also suffered opportunity costs by foregoing

                               21   the opportunity to switch to other coverage offered by other companies during the open enrollment

                               22   periods.

                               23           152,    Health Net and DOES 1 through 100's misrepresentations and omissions described

                               24   herein were intentional, or alternatively, made without the use of reasonable procedures adopted to
   Qi
                               25   avoid such an error.

                               26           153,    Health Net and DOES 1 through 100, directly or indirectly, have engaged in

                               27   substantially similar conduct to Plaintiffs and to each member of the Class.

                               28           154.    Such wrongful actions and conduct are ongoing and continuing. Unless Health Net

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                                 1     and DOES 1 through 100 are enjoined from continuing to engage in such wrongful actions and

                                 2     conduct, the public will continue to be harmed by Health Net and DOES 3 through 100's conduct.

                                 3        .    155.   Health Net and DOES 1 through 100, and each of them, aided and abetted,

                                 4     encouraged, and rendered substantial assistance in accomplishing the wrongful conduct and their

                                 5     wrongful goals and other wrongdoing complained of herein. In taking action, as particularized

                                 6     herein, to aid'and abet and substantially assist the commission of these wrongful acts and other

                                 7     wrongdoings complained of, Health Net and DOES 1 through 100 each acted with an awareness
                                 8     of his/her/its primary wrongdoing and realized that his/her/its conduct would substantially assist

                                 9     the accomplishment of the wrongful conduct, wrongful goals, and wrongdoing.

                                 10            156.   Plaintiffs and the Class arc entitled to an injunction, pursuant to Civil Code section

                                 11    1780, prohibiting Health Net from continuing to engage in the above-described violations of the
                   o
           CQ    ZO              12    CLRA.
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            ^ oz
                       gio       13            157.   Plaintiffs and the Class Members are entitled to recover attorney fees and costs
           >-A a -
           CQ tt z:k2? "t« 5><
               8£ f aO ^   Z z 14      pursuant to Civil Code section 1780(d).
                _> a 3
           < j; < Oi'u 3< 15
                        <J
           ffi o! 2
           <• COu> oiu. <c f-Q-£ >o.
                                               158.   Plaintiffs and the Class Members are entitled to recover attorney fees and costs
           •JN ii>
           •-J OCC OH­ H lj5l 16
             ,   a Z
                                       pursuant to Code of Civil Procedure section 1021,5, as they are the catalyst for enforcement of
           O <D        to

                                 17    important rights affecting the public interest that confer a significant benefit on the general public.

                                 18            159.   Health Net and DOES 1 through lOO's conduct described herein was intended to

                                 19    cause injury to Plaintiffs and members of the Class, and was despicable conduct carried on by

                                 20    Health Net and DOES 1 through 100 with a willful and conscious disregard of the rights of

                                 21    Plaintiffs and members of the Class, subjected Plaintiffs and members of the Class to cruel and

                                 22    unjust hardship in conscious disregard of their rights, and was an intentional misrepresentation,

                                 23    deceit, or concealment of material facts known to the Health Net and DOES 1 through 100 with

                                 24    the intention to deprive Plaintiffs and members of the Class property, legal rights or to otherwise

                                 25    cause injury, such as to constitute malice, oppression or fraud under Civil Code section 3294,
    u!
                                 26    thereby entitling Plaintiffs and members of the Class to punitive damages in an amount

                                 27    appropriate to punish or set an example of Health Net and DOES 1 through 100.
                                                                                       i

                                 28            160.    Health Net and DOES 1 through 100's conduct described herein was undertaken by

                                                                                       -31 -
                                                                                  COMPLAINT


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                                      1    their officers or managing agents, and was therefore undertaken on behalf of Health Net. Health

                                      2    Net further had advance knowledge of the actions and conduct of said individuals whose actions

                                      3    and conduct were ratified, authorized, and approved by managing agents whose precise identities

                                      4    are unknown to Plaintiffs at this time and are therefore identified and designated herein as DOES 1

                                      5    through 100.

                                      6                                     FOURTH CAUSE OF ACTION

                                      7                                            Breach of Contract

                                      8                                        As Against AH Defendants

                                      9            161.    Plaintiffs incorporate by reference each of the preceding paragraphs as though folly

                                      10   set forth herein.

                                      11           162.    Health Net and DOES 1 through 100 owe duties and obligations to Plaintiffs and

                u)                    12   members of the Class under the PPO Policies at issue.
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                                                   163.    By misrepresenting provider networks, denying coverage or paying less for medical
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                            :'
               < « ! > V<-i 14             services on the basis that services were provided by an out-of-network provider. Health Net and
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               a o S^'ls 15                DOES I through 100 have uniformly breached the terms and provisions of the PPO Policies
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               i>4 %     ^ rf OJ ?•
                -1 o                  16   entered into with Plaintiffs and Class Members.
               < £
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                                      17           164.    As a direct and proximate result of Health Net and DOES 1 through 100's conduct

                                      18   and breach of contractual obligations, Plaintiffs and members of the Class suffered damages under

                                      19   the PPO Policies in an amount to be determined according to proof at the time of trial.

                                      20                                      FIFTH CAUSE OF ACTION

                                      21                   Breach of (he Implied Covenant of Good Faith and Fair Dealing

                                      22                                        As Against All Defendants

                                      23           165.    Plaintiffs incorporate by reference each of the preceding paragraphs as though fully

                                      24   set forth herein,                                                                  -'

                                      25           166.    Through its conduct of misrepresenting provider networks, failing to maintain

                                      26   adequate provider networks, initiating a groundless dragnet SIU investigation and refusal to
       •I;-,
                                      27   reimburse out-of-network BH/SUD claims to unduly restrict the availability of out-of-network

                                      28   providers, and reimbursing out-of-network BH/SUD claims with an inapplicable Medicare

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                                                                                     COMPLAINT


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                                            1    reimbursement rate in contravention of the express Policy terms, Health Net and DOES 1 through

                                            2    100 have breached their duty of good faith and fair dealing owed to Plaintiffs and members of the

                                            3    Class,

                                            4             167.   Plaintiffs allege that Health Net and DOES 1 through 100 have breached their duty

                                            5    of good faith and fair dealing owed to Plaintiffs and Class Members by other acts or omissions of

                                            6    which Plaintiffs are presently unaware and which will be shown according to proof at trial.

                                            7             168.   As a proximate result of the aforementioned unreasonable and bad faith conduct of
                                            8    Health Net and DOES 1 through 100, Plaintiffs and members of the Class have suffered, and will

                                            9    continue to suffer in the future, damages under the PPO Policies, plus interest, and other "

                                            10   economic, non-economic and consequential damages, in an amount to be proven at trial.

                                            11            169.   As a further proximate result of the unreasonabl e and bad faith conduct of Health

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                  o-                        12   Net and DOES 1 through 100, Plaintiffs and members of the Class were compelled to retain legal
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                                            13   counsel and to institute litigation to obtain the benefits due under the contracts. Therefore,
           <8                               14   Defendants are liable for those attorney fees, witness fees and litigation costs reasonably incurred
           z< i w o tij 3
            w '?>— ^wZb:<21<- f-oz£ fj"<^   15   in order for Plaintiffs to obtain their benefits under the PPO Policies.
            J il"?               j!
                                            16            170.   Health Net and DOES 1 through 1 OO's conduct described herein was intended to
           c ?s?" g
            1-1


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                                            17   cause injury to Plaintiffs and members of the Class, and was despicable conduct carried on by

                                            18   Health Net and DOES 1 through 100 with a willful and conscious disregard of the rights of

                                            19   Plaintiffs and members of the Class, subjected Plaintiffs and members of the Class to cruel and

                                            20   unjust hardship in conscious disregard of then' rights, and was an intentional misrepresentation,

                                            21   deceit, or concealment of material facts known to the Health Net and DOES 1 through 100 with

                                            22   the intention to deprive Plaintiffs and members of the Class property, legal rights or to otherwise

                                            23   cause injury, such as to constitute malice, oppression or fraud under Civil Code section 3294,

                                            24   thereby entitling Plaintiffs and members of the Class to punitive damages in an amount

                                            25   appropriate to punish or set an example of Health Net and DOES 1 through 100.

                                            26            171.   Health Net and DOES 1 through 100's conduct described herein was undertaken by
 -it?
                                            27   their officers or managing agents, and was therefore undertaken on behalf of Health Net. Health
!\<
                                            28   Net further had advance knowledge of the actions and conduct of said individuals whose actions

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                                                                                            COMPLAINT


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         1   and conduct were ratified, authorized, and approved by managing agents whose precise identities

         2   are unknown to Plaintiffs at this time and are therefore identified and designated herein as DOES 1

         3   through 100.

         4                                        SIXTH CAUSE OF ACTION

         5                                               Declaratory Relief

         6                                          As Against All Defendants

         7              172.   Plaintiffs incorporate by reference each of the preceding paragraphs as though fully

         8   set forth herein.                                                                                .

         9              173.   An actual controversy has arisen between Plaintiffs and the Class Members on the

        10   one hand, and Health Net and DOES 1 through 100 on the other hand, as to their respective rights

        U    and obligations under the PPO Policies. Specifically, Plaintiffs and the Class Members contend

        12   that Health Net and DOES 1 through 100's conduct of misrepresenting provider networks, failing

        13   to maintain adequate provider networks, initiating a groundless dragnet SIU investigation and

        14   refusal to reimburse out-of-network BH/SUD claims to unduly restrict the availability of out-of-

        15   network providers, and reimbursing out-of-network BH/SUD claims with an inapplicable

        16   Medicare reimbursement rate in contravention of the express Policy terms, is prohibited by

        17   California law, whereas Health Net and DOES 1 through 100 contend that their conduct was

        18   proper.

        19              174.   Plaintiffs seek a declaration as to the respective rights and obligations of the

        20   parties.

        21                                            PRAYER FOR RELIEF

        22              Plaintiffs, on their own behalf and on behalf of the Class, pray for relief as follows:

        23              1.     An Order certifying the proposed Class pursuant to Code of Civil Procedure section

        24   382 and Civil Code section 1780 et seq. and appointing Plaintiffs to represent the proposed Class

        25   and designating their counsel as Class Counsel;

        26              2.     An Order enjoining Health Net from continuing to engage in the conduct described

        27   herein;

        28              3.      An Order awarding Plaintiffs and the Class restitution and such other relief as the

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         1    Court deems proper;                                                                 •

         2             4.     An Order awarding Plaintiffs and the Class damages for misrepresenting provider

         3    networks and failure to provide coverage under the contracts, plus interest, including prejudgment

         4    interest, and other economic and consequential damages, in a sum to be determined at the time of

         5    trial;

         6             5.     An Order awarding Plaintiffs and the Class punitive and exemplary damages in an

         7    amount appropriate to punish or set an example of Defendants;

          8            6.     An Order declaring the rights and obligations of Plaintiffs and Class members, on

         9    the one hand, and Health Net, on the other, with regard to the business practices alleged;

        10             7.     An Order awarding Plaintiffs' attorney fees, costs and expenses as authorized by

         11   applicable law; and

        12             8.     For such other and further relief as this Court may deem just and proper.

        13                                                  JURY DEMAND

         14            Plaintiffs demand a trial by jury.

         15

         16   Dated: May 4,2018                               CALLAHAN & BLAINE, APLC
         17

         18
                                                                 Edward Susolik, Esq.
         19                                                      Richard T. Collins, Esq.
                                                                 Damon D. Eisenbrey, Esq.
         20                                                      Attorneys for Plaintiffs KATHLEEN
                                                                 STEINLEY, MARTIN HAROLD STEINLKY,
         21                                                      and MARTIN ALEXANDER STEINLEY,
                                                                 individually and on behalf of others similarly
         22                                                      situated
         23

         24

         25




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                                                                                             ORIGINAL
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                ATTORNEY OR PARTY WITHOUT ATTORNEYJWam&, Stata Barmmbor, and address):                                                                             for
                -Richard T. Collins (SBN 166577)
                  CALLAHAN & BLAINE, APLC
                  3 Button Centre Drive, Ninth Floor                                                                                                        Superior Court of California
                  Santa Ana, CA 92707                                                                                                                         Countvnf Los Anpclts
                      TELEPHONE NO,:714-241-4444            FAXMO.: 714-241-4445
                                    Plaintiffs KATHLEEN STE1NLEY. etal.
                 ATTORNEY FOR
               SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                                                                                                                                                                    MAY O 4 |018
                    s-ireetaddress: 111 N. Hill Street
                    maiunq address: Same as Above
                                                                                                                                                    Sherri k. carur, Lxetutive Uificer/Cleri
                   city and w code: Los Angeles. CA 90012                                                                                             Bv                                      nT,4
                       branch name: Stanley Mosk Courthouse                                                                                                        RitaNazaryan
                 CASE NAME:
                 KATHLEEN STETNLEY, et al. v. HEALTH NET, et al.
                    CtVIL CASE COVER SHEET
                I / I Unlimited  1 I Limited
                                                                                                     Complex Case Designation
                                                                                                                                                                         7 0 22 97
                             (Amount                            (Amount
                                                                                            I,       I Counter          I    I Joinder
                                                                                                                                                   JUDGE:
                             demanded                           demanded Is                 Filed with first appearance by defendant
                             exceeds $25,000)                   $25,000 or less)                {Cat. Rules of Court, rule 3.402)                   dept:
                                                                       Hems 1-6 below must be completed (see Instructions on page 2).
               1. Check one box below for the case type that best describes this case:
                  Auto Tort                                   Contract                                                                     Provisionally Complex Civil Litigation
                     • Auto (22)                                                       • Breach of conlract/warranty (06)                  (Cal. Rules of Court, rules 3.400-3,403)
                     • Uninsured motorist (46)                                         1         I Rule 3.740 collections (09)             I    I Antitrust/Trade regulation (03)
                     Other PI/PD/WD (Porsonal ln|uiy/Property                          • Other collections (09)                            I    I Construction defect (10)
                     Damage/Wrongful Death) Tort                                       • Insurance coverage (10)                           I    I Mass tort (40)
                     • Asbestos (04)                                                   • Other conlract (37)                               I    I Securities litigation (28)
                     f" I          Product liability (24)                               Raal Property                                      i    I Envlronmental/Toxlc tort (30)
                     1           I Medical malpractlca (46)                             I        I Emlnenl domaln/lnveise                  I J I Insurance coverage claims arising from the
                     • Other PI/PD/WD (23)                                                         condemnation (14)                             above listed provisionally complex case
                                                                                        I        1 Wrongful eviction (33)                        types (41)
                          Non-PI/PD/WD (Other) Tort
                                                                                                                                            Enforcement of Judgment
                     • Business tort/unfair business practice (07) I   I Other real properly (26)
                      tZD
                       Civil rights (06)                           Unlawful Detainer                                                       • Enforcement of Judgment (20)
                     • Defamallon (13)                                                  I        1 Commercial (3t)                          Mlscollansous Civil Complaint
                     • Fraud (16)                                                       I        I Residential (32)                         I   I RICO (27)
                     • tntetleclual property (19)                                      • Drugs (38)                                         I   I Other complaint (not specified above) (42)
                     [" I Professional negilgencs (25)                                 Judicial Review
                                                                                                                                            Miscellaneous Civil Petition
                      CZl          Other non-PI/PDM/D tort (35)                        • Assel forfeiture (05)
                                                                                                                                            I   I Partnership and corporate governance (21)
                      Employment                                                        1        I   Petition re: arbitration award (11)
                                                                                                                                            I   I Other petition (not specifiedBbova) (43)
                      I          I Wrongful tetmlnailon         (36)                    I        I Writ ol mandate (02)
                      I          I Other amploymant (15)                               |         I Other judicial review (39)
                          This case        CZT    I   I is not    complex under rule 3.400 of the California Rules of Court, if the case Is complex, mark the
                          factors requiring exceptional judicial management:                                                              .
                          a, I      I   Large number of separately represented parties                            d. GZ3 Large number of witnesses
                          b .tZ] . Extensive motion               practice raising difficult or novel            e. I       I Coordination with related actions pending In dna or more courts
                                        issues that will be time-consuming to resolve                                        in other counties, states, or countries, or in a federal court
                                 I/I    Substantial amount of documentary evidence                                f. I / I Substantial postjudgment judicial supervision

                3.        Remedies sought (check all that apply): a.I / I monelarv                              b.l / I nonmonetary; declaratory or Injunctive relief               c. I / [punitive
                4.        Number of causes of action^ (specify):                 Six
                5. This case                I / I is        I      I is not    a class action suit.
                6.        If there are any known related cases, tile and serve a notice of related cas6r(Youjnay use fori

               Date: May 4, 2018
               Richard T. Collins
                                                       frypE OR PRINT NAME)                                                                (SIGNATUnE qf PAWY OR ATTORNEY FOB PARTY)

                                                                                                               NOTICE
                     Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
                     under the Probate Code, Family Code, or Welfare and Institutions Cade). {Cal. Rules of Court, rule 3.220.) Failure to file may result
   4li               in sanctions.
                     File this cover sheet in addition to any cover sheet required by local court rule.                   .
                   1 If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on ail

                     other parties to the action or proceeding.
                   1 Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
                                                                                                                                                                             panel era
   Jvvl
                Fonn Adoplfld for Mnixdaioiy Uao                                                                         Cfi!. Ruioe of Court, nrfea 2.30,3,220,3,<400-3.403, 3.740;
                  Judicial CourcJl of CaBfomis
                                                                       CIVIL  CASE      COVER     SHEET                           Cal. Standards   of JudlcJf) Adfn'nlalfailan,  std. 3.10
   Ca'             CM-0t0}Rov. July 1,2007]                                                                                                                      WrttY,coi/rt/nfo.c<?.goi/




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                                               INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET                                                    CM-OIO
             To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
             complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
             statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
             one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
             check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
             To assist you In completing the sheet, examples of the cases that belong undar each case type in item 1 are provided below. A cover
             sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
             Its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
             To Parties In Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money
             owed In a sum stated to be certain that Is not more than $25,000, exclusive of Interest and attorney's fees, arising from a transaction in
             which property, services, or money was acquired on credit. A collections case does not Include an action seeking the following: (1) tort
             damages, (2) punitive damages, (3) recovery of real properly, (4) recovery of personal property, or (5) a prejudgment writ of
             attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
             time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
             case will be subject to the requirements for service and obtaining a judgment in rule 3.740,
             To Parties in Complex Cases, In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
             case Is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
             completing the appropriate boxes in items 1 and 2. if a plaintiff designates a case as complex, the cover sheet must be sewed with the
             complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
             plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
             the case is complex.
                                                                       CASE TYPES AND EXAMPLES
             Auto Tort                                        Contract                                           Provisionally Complex Civil Litigation (Cal,
                 Aulo (22)~Personal Injury/Property              Breach of Contract/Warranty (06)                Rules of Court Rules 3.400-3.403)
                     DamageWrongful Deaih                            Breach ot Rental/Lease                           Antitrust/Trade Regulation (03)
                 Uninsured Motorist (46) (IF the                         Contract fnof unlawful detainer              Construction Defect (10)
                     case Involves an uninsured                                or wrongful eviction)                  Claims Involving Mass Tort (40)
                       motorist claim subject to                      Conlract/Warranty Breach-Seller                 Securities Litigation (28)
                       arbitration, check this item                        Plaintiff (not fraud or negligence)        Envlronmental/ToxIcTDrt (30)
                       instead of Auto)                               Negligent Breach of Contract/                   Insurance Coverage Claims
             Other PI/PD/WD (Personal Injuryf                   '          Warranty                                        (arising from provisionally complex
             Property Damago/Wrongful Death)                          Other Breach of ConlractA/Vairanly                 case type listed above) (41)
             Tort                                                 Collections (e.g., money owed, open             Enforcement of Judgment
                  Asbestos (04)                                       book accounts) (09)                            Enforcement of Judgment (20)
                       Asbestos Properly Damage                       Collecllon Case-Seller Plaintiff                   Abstract of Judgment (Out of
                                                                      Other Promissory Nole/Collectlons                      County)
                       Asbestos Personal Injury/
                             Wrongful Death                                Case                                          Confession of Judgment (non-
                                                                  Insurance Coverage fnof provisionally                      domestic rate/ions)
                   Product Liability (;ia( asbestos or
                                                                      comptox; (18)                                      Sister State Judgment
                       toxlc/environmentel) (24)
                   Medical Malpractice (45)                           Auto Subrogation                                   Administrative Agency Award
                        Medical Malpractlcs-                          Other Coverage                                          fnof unpaid taxes)
                             Ptiyslcians & Surgeons              Other Contract (37)                                      Petition/Certification of Entry of
                                                                      Contractual Fraud                                      Judgment on Unpaid Taxes
                        Other Professional Health Care
                             Malpractice                             Other Contract Dispute                               Other Enforcement of Judgment
                                                              Real Property                                                    Case
                   Other PI/PD/WD (23)
                                                                 Eminent Domain/Inverse                            Miscellaneous Civil Complaint
                        Premises Liability (e.g., slip
                                                                      Condemnation (14)                               RICO (27)
                             and fall)
                        Intentional Bodily ln)ury/PD/WD          Wrongful Eviction (33)                               Other Complaint (not spedtied
                                                                                                                          above) (42)
                             (e,g., assault, vandalism)          Other Real Property (e.g., quiet title) (26)
                                                                                                                          Declaratory Relief Only
                        Intentional Infliction of                     Writ of Possession of Raat Property
                                                                                                                          Injunctive Relief Only (non-
                             Emotional Distress                       Mortgage Foreclosure                                     harassment)
                        Negligent Infliclion of                       Quiet Title
                                                                                                                           Mechanics Lien
                             Emotional Distress                       Other Real Property (nof eminent
                                                                                                                     '     Other Commercial Complaint
                        Other PI/PD/WD                                 domain, landlord/tenant, or
                                                                                                                               Case (non-tort/non-complex)
             Non-PMPD/WD (Other) Tort                                  foreclosure)
                                                                                                                           Other Civil Complaint
                   Business Tort/Unfair Business               Unlawful Detainer
                                                                                                                               (non-tort/hon-complex)
                      Practice (07)                               Commercial (31)
                                                                                                                   tVHsceltanaous Civil Petition
                   Civil Rights (e.g., discrimination,             Residential (32)                                   Partneiship and Corporate
                       false arrest) (not civil                    Drugs (38) (il the case involves illegal                Governance (21)
                        harassment) (08)                               drugs, check this Hem; otherwise,              Other Petition fnof specified
                   Defamation (e.g.. slander, ilbol)                   report as Commercial or Residential)               above) (43)
                         (13)                                 Judicial Review                                              Civil Harassment
                   Fraud (10)                                     Asset Forfeiture (05)                                    Workplace Violence
                 i intellectual Property (19)                     Petition Re: Arbitration Award (11)                      Elder/Dependent Adult
                   Professional Negligence (25)                   Writ of Mandate (02)                                          Abuse              '
                       Legal Malpraclice                               Wrlt-Adminlstrative Mandamus                        Election Contest
                       Other Professional Malpractice                  Writ-Mandamus on Limited Court                      Petition for Name Change
  Qi                       (not medical or legal)                          Case Matter                                     Petition for Relief From Late
                 Other Non-PI/PD/WD Tort (35)
  4-,         Employment
                                                                       Writ-Other Limited Court Case                            Claim
                                                                          Review                                           Other Civil Pelltlon
                 Wrongful Toimlnatlon (36)                        Other Judicial Review (39)
                 Other Employment (15)                                 Review of Health Officer Order
                                                                       Notice of Appeal-Labor
                                                                          Commissioner Appeals
              CM-019|Rev. July 1,2007]
                                                                   CIVIL CASE COVER SHEET




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                                                                                                                      CASG NUMBER
                           KATHLEEN STEINLEV, et at. v, HEALTH NET, et al.
                                                                                                                                        BP. 7 A a a a 7

                                           CIVIL CASE COVER SHEET ADDENDUM AND
                                                   STATEMENT OF LOCATION
                             (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)

                            This form Is required pursuantto Local Rule 2.3 In alt new civil case filings In the Los Angeles Superior Court.




                   Step 1; After completing the Civil Case Cover Sheet (Judicial Council form CM-010), find the exact case type in
                                 Column A that corresponds to the case type Indicated In the Civil Case Cover Sheet.


                   Step 2:       In Column B, check the box for the type of action that best describes the nature of the case.


                   Step 3: In Column C, circle the number which                     explains the reason for the court filing location you have
                                 chosen.

                                                          Applicable Reasons for Choosing Court FilingLocation (Column C)

              1 . Glass actions must be (lied In Ihe Stanley Mosk Courthouse, Central District.       7. Location where petitioner resides.

              2. Parmlssive filing In csnlral di&trict.                                               8. Location wherein detendanfrespondenifunctlons wholly.

              3. Location where cause of action arose.                                                9. Location where one or more of the parties reside.

              4. Mandatory personal Injury tiling In North Dlstrlci.                                10. Location of Labor Commissioner Office.
                                                                                                    11. Mandatory filing location (Hub Cases - unlawful detainer, limited
              5. Location where perfonnance required or defendant resides.
                                                                                                    non-collection, limited collection, or personal Injury).
              6. Location of property or permanently garaged vehicle.


                                 '"             A               '                                                                                        '    '   •
                                                                                                                                                                       1 C-"   '
                                                                              :':r-         o              'A c t i o n .   ;       :    :               "Appli.cSblBReascnS:;-
                              '.i:        Ca'.eocry.N:)..;.: '                                                                                          .ftsee;isiep3%bby^.i£

                                             Auto (22)              • A71O0 Motor Vehicle-Personal injury/Property DamageAVrongful Death                 1,4.11
                 S c
                 3 .a
                 < •-                Uninsured Motorist <46)        • AT110 Personal Injury/Property Damage/Wrongful Death-Uninsured Motorist            1.4,11


                                                                    • A6070 Asbestos Property Damaga                                                     1, 11
                                          Asbestos (04)
                                                                    Q A7221 Asbestos- Personal Injury/Wrongful Death                                     1. 11

                  a.
                  2 JZ                 Product Liability (24)       • A7260 Product Liability (not asbaslos or loxlc/ewlronmental)                       1,4,11
                 5: QS                                                                                                                                                             I
                 &                                                  • A72I0 Medical Malpracllce - Physicians & Surgeons                                      1,4, 11
                                     Medical Malpractice (45)
                                                                    • A7240 Other Professional Health Care Malpractice                                   1,4,11

                  o 5
                  ec
                  a> a)
                                                                    • A7250 Premises LlabilKy (e.g., slip and fall)
                    o>
                    ra
                 a_ ~                    Other Personal
                                                                                                                                                         1,4,11
                                         Injury Property            • A723Q Intentional Bodily Injury/Property Damage/Wrongful Death (e.g.,
                  a> E                                                                                                                                   1.4,11
                                                                            assault, vandalism, etc.)
                   <3                   Damage Wrongful
                                                                                                                                                         1,4,11
                                           Death (23)               O A7270 Intentional Infllclion of Emotional Distress
                                                                                                                                                         1,4,11
                                                                    • A7220 Olher Personal Injury/Property Damage/Wrongful Death




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               SHORT TITLE:                                                                                                  CASE NUMBER
                              KATHLEEN STE1NLEY, et al. v. HEALTH NET, el a!.


                                           -'A                                                                                                                   j. OjC:"Applirabie,;: jj;
                              .'.^..Clvliciso'Covor.Shsot'.        '   (                ;\              ; ,Typq of; Actirjn';,'i          ^                    ^easpns.'-l'See/Step :3.
                              ;;:        Cs'lflgoiy .^c.:: v.. ;                                   ;;   (Chcc<0n!yc:«j                                     \ ' .         Afcpve1':

                                      Business Tort (07)           O A6029 Olher Commercial/Business Tori (not fraud/breach of contract)                       1,2,3


                                       Cluil Rights (08)               O A6005 Civil Rights/Dlscfimlnallon                                                     1,2,3

                 a- a)                 Defamation (13)                 O A6010 Defamation (slander/libel)                                                       1,2,3
                  ,3 ^
                  'c
                  —tu a>
                      cp                   Fraud (16)              • A6013 Freud (no conlracl)                                                                  1, 2,3
                   c
                   o^ S-                                               D A6017 Legal Malpracllce                                                                1,2,3
                   ® a>
                  CU (13
                                Professional Negligence (25)
                                                                       D A6050 Other Professional Malpractice (not medical or legal)                            1,2,3
                  c £
                  2 O
                  o fEI

                                           Other (35)              • A6025 OtherNon-PersonallnJury/PropertyDamage tort                                          1,2,3


                                  Wrongful Termination (36)            O   Aa037 Wrongful Taranlnatlon                                                          1,2,3
                    E
                    O                                                  • A6024 Other Employment Complaint Case                                                  1,2,3
                    CL             Olher Employment (IS)
                    B                                                  • A6109 Labor Commissioner Appeals                                                       10


                                                                       • A6D04 Breach of Renlal/Lease Contract (nol unlawful detainer or wrongful
                                                                                                                                                                2,5
                                                                               eviction)
                                Breach of Contract/Warranty                                                                                                     2,5
                                            (05)                       • A6008 ContractA/Varranty Breach -Seller Plaintiff (no fraud/negligence)
                                      (not insurance)                                                                                                           1, 2, 5
                                                                       • A6019 Negligent Bresch of Contract/Warranty (no fraud)                        .
                                                                                                                                                                1,2,5
                                                                       Q   A6028 Other Breach of Contract/Warranty (nol fraud or negligence)


                                                                       • A6002 Collections Case-Seller Plalnllff                                                5. 6, 11
                                        Collections (09)
                                                                       • A6012 Olher Promissory Noto/Collecllons Case                                           5,11
                                                                       • A6034 Collections Case-Purchased Deb! (Charged Off Consumer Debt                       5, 6,11
                                                                               Purchased on or after January 1,2014)

                                   Insurance Coverage (18)             • A6015 Insurance Coverage (not complex)                                                 1,2,5,8


                                                                       • A8009 Contractual Fraud                                                                1,2,3,5

                                      Olher Contract (37)              • A6031 Tortious Interference                                                            1,2,3,5

                                                                       • A6027 Other Contract DIsputetnot breach/lnsurance/fraud/negllgence)                    1,2,3,8,9

                                   Eminent Domain/Inverse              O   A73ntl Eminent Domaln/Condemnallcn                      Number of Darcels             2,6
                                     Condemnation (14)

                                     Wrongful Eviction (33)            • A6023 Wrongful Eviction Case                                                            2,6


                     ra                                                O   A6018 Mortgage Foreclosure                                                            2,0

                                   Other Res! Property (26)            O   AG032 Quiet Title                                                                     2.6

                                                                       • A6060 Olher Real Property (not eminent domain, landlord/tenant, foreclosure)            2,6

                                Unlawful Detalnar-Commerdal
                                                                       D   A6021 Unlawful Detainer-Commercial (not drugs or wrongful eviction)                   6,11
                                            01)

                                 Unlawful Detainer-Residential
                    Qa>
                    i2
                                             (32)            •
                                                                       O   A6020 Unlawful Detalner-Resldontlal (not drugs or wrongful eviction)                  6,11
    ' v
                                      Unlawful Delalner-
    viy             f^2              Poat-Foreclosure (34)
                                                                       • AB020F Unlawful Detalner-Posl-Foreclosure                                               2,8,11

                                 Unlawful Detainer-Drugs (38)          • A6022 Unlawful Detainer-Drugs                                                           2,8,11
    v.



                 LACIV 109 {Rev 2/16)                              CIVIL CASE COVER SHEET ADDENDUM                                                            Local Rule 2.3
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               SHORF TITLE:                                                                                                            CASE NUMBER
                                 ' KATHLEEN STEINLEY, et a!, v. HEALTH NET. et al

                                          1                                                      1   .                     B                                     1           Vt !;i?C^p$icat|e/f: j
                                  iS :j?Clvll'Cas£ Cqye(:$heet!'.;?T;; j                        S             .Y^ T y p o o fA c t i o n                                     floason6;f|e0:gtep;3;
                                  iirCK7;^Cate'g^                                      • • • ' • ' ''.;fcfe;k              bnVqne;                   i-!;'';,!:,.*::/;'''/-i     cr-1-. AboveJ':;-

                                         Asset Forfellurs (05)                     • A6108 Asset Forfeiture Case                                                             2,3.6

                                      Pelillon ro Arbitration (11)                 Q A6115 Petition to Compel/Conflrm/Vacate Arbitration                                     2,5


                                                                                   • A6151 Writ - Administrative Mandamus                                                    2,8
                                         Writ of Mandela (02)                      D A6152 Writ - Mandamus on Limited Court Case Mattor                                      2
                                                                                   • A6153 Writ - Other Limited Court Case Review                                            2


                                     Other Judlclsl Review (39)                    • A6150 Olher Writ/Judicial Review                                                         2,8


                                   Antilrusl/Trade Regulation (03)                 • A6003 Antitrust/Trade Regulallon                                                        1,2,8
                     n
                    £3o
                                      Construction Defect (10)                     • A6007 Construction Defect                                                               1,2,3

                                     Claims Involving Mass Tort
                    JBOu
                      X
                                                (-10)
                                                                                   • AS0DG Claims Involving Mass Tort                                                         1.2, 8

                     B
                    Oo                Securities Litigation (28)                   • A6035 Securities Litigation Case                                                         1,2,8

                                                  Toxic Tort
                                                                                   • A6O30 Toxic Tort/Environmental                                                           1.2, 3,8
                                              Environmental (30)

                    O                Insurance Coverage Claims
                    QL                 from Complex Case (41)
                                                                                   0 A6014 Insurance Coverage/Subrogatlon (complex case only)                                ©2, 5, 8


                                                                                   • A6141 Sister State Judgment                                                              2. 5, 11

                                                                                   • A6160 Abstract of Judgment                                                               2,6
                  C0)     Co>
                  E E                                                              O A6107 Confession of Judgment (non-domestic relations) •                                  2, 9
                   0>      CJ>                   Enforcement
                  e
                  £      *§=
                                              of Judgment (20)                     • A6140 Administrative Agency Award (not unpaid taxes)                                     2,8

                  UlC    «*-
                           ©                                                       • A6114 Petlllon/Certlllcale for Entry of Judgment on Unpaid Tax                           2,8

                                                                                   • AB112 Othar Enforcement of Judgment Case                                                 2,8,8


                                                  RICO (27)                        • A6033 Racketeering (RICO) Case                                                           1,2,8

                  Og Q.to                                                          • A603D Declaratory Relief Only                                                            1.2,8
                  Jj £                    Other Complaints                         • A6040 Injunctive Relief Only (not domestWharassmant)                                     2,8
                  Sto O
                      72
                                      (Not S p e c i f i e d A b o v e ) ( 4 2 )   • A6011 Olher Commercial Complaint Case (non-tort/non-complex)                             1.2,8

                                                                                   Q A6000 Other Civil Complaint (non-tort/non-complex)                                       1,2,8

                                        Partnership Corporation
                                                                                   • A6113 Partnership and Corporate Govemancs Case                                           2,8
                                           Governance (21)

                                                                                   • A6121 CMI Harassment                                                                     2,3,9

                  3OW COy)                                                         • A6123 Workplace Harassment                                                               2,3,9
                    a*
                   ss
                  jg    Q>                Olher Petlllons (Not
                                                                                   • A6124 Eldar/Dspendent Adult Abuse Case                                                   2,3,9
                  "53     Q-
                                         Specified Above) (43)                     P AG190 Election Contest                                                             .
                   o rs                                                                                                                                                       2
                   (/»     >
                  is <3                                                            • A6110 Palltlon for Change of Name/Change of Gender                                       2,7
                                                                                   • AG170 Pslition for Rallef from Late Claim Law                                            2,3,8
                                                                                   • A6100 Olher Civil Petition                                                               2,9




                 laciv 109 (Rev2/10)                                               CIVIL CASE COVER SHEET ADDENDUM                                                          Local Rule 2.3
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               SHORT TIRS:                                                                              CASE NUMBER   .
                              KATHLEEN STE1NLEY, et al. v. HEALTH NET, et at.



              Step 4: Statement of Reason and Address: Check the appropriate boxes for the numbers shown under Column C for the
                          type of action that you have selected. Enter the address which is the basis for the filing location, including zip code.
                          (No address required for class action cases).

                                                                                    ADDRESS:
                 REASON:

                  0 1. • 2. D 3. • 4. • 5. D 6. • 7. • 8. • 9. D 10. • 11.



                 CITY;                                      STATE:     ZIP CODE:

                 Los Angeles                     .         CA          90012


              Step 5: Certification of Assignment: I certify thatthis case is properly filed in the Los Angeles                                     District of
                          the Superior Court of California, County of Los Angeles [Code Civ. Proc., §392 et seq., and Local Rule 2.3(a)(1)(E)].




                Dated; May 4, 2018
                                                                                                      •NATURE OF ATTORNEY/FILING PARTY)




                PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
                COMMENCE YOUR NEW COURT CASE:

                     1.      Original Complaint or Petition.

                     2.      If filing a Complaint, a completed Summons form for issuance by the Clerk.

                     3.      Civil Case Cover Sheet, Judicial Council form CM-010.

                     4.      Civil Case Cover Sheet Addendum and Statement of Location form, LACIV 109, LASC Approved 03-04 (Rev.
                             02/16),
                     5.      Payment in full of the filing fee, unless there is court order for waiver, partial or scheduled payments.

                     6.      A signed order appointing the Guardian ad Litem, Judicial Council form CIV-OIO, if the plaintiff or petitioner is a
                             minor under 18 years of age will be required by Court in order to issue a summons. .

                     7.      Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
                             must be served along with the summons and complaint, or other initiating pleading in the case.




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    N.,'


    <5           LACIV 109 (Rev2/18)                       CIVIL CASE COVER SHEET ADDENDUM                                               Local Rule 2.3
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